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01023452642783729 2 342342782 476 2 6
002 273562782352 539
00202020200208372 226
0020202020020 268702 892 !72247372678
0"02# 4724 $2%%232 677 2672 23&5 
0'020202020( 26472 23 282629 2%%2826
0)029 24737262 32 &$7
0*0202020200201+)1
0+0202020200202837!429 2868472 , 2 
1-02 &376 
11020202020020.2727 2(&32/ &376 3 2068
102(&8 2&6,2326 $32627&86&3 24,6&4
102374$302.234232374$3
10202020202782.2727 23 7232932 2& 
1"0237216 3226 $ 02.7!42& 402.7!4232687
1'026,646 2372782(737236,46792 24 3 
1)0202020202782.!,2832%%278372 2%%27837
1*02 223 72672 2$92 &376 
1+020202020020 82629 23 37286824&8 
-0202020200208372 22621+'+
102020202002055390292$6 673924,6&
0202020200206 246
020202020020 26870229 26472%%23
02(&320682(&8 264282624 3 
"020202020020.7264
                                                        WXXYZ[[Y\]^_àbbcde
                                                        ]fghijklmnhoimpfYqmrt/1
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 12 of 92

  234564768932:3;<                                             JKLM6NOP6QNQQ
  =3>?@9A@B6CADB@6EF6;A9G6BH6:IHH3>B                                      nn
01020202020340201526627821591 2 2272
002  2 728
0 020202020!4020"272 4
0#02020202034020$ 2 8%2 2& 2'22 (2)
0*02+7 2 227822  2 7
0,028402  7 8 28 22'782 
090278( 272 284
0-020202020!4020.22 8 22 728 28
0502.227(82 27828 +21,402 78(2
1/0272.2221, 2.2662.2)222 84
11020202020.282282 22) 2  2+7
1027222 8(2 82 228 720 4
1 02020202034020$2 22 27
1#020202020!4020 ++ 2%91 2%94
1*020202020340201' 4
1,020202020!4020.282+'2 22662 22782
1902 2782 ' 2+ 2.227(82 278
1-028 +2-22274
15020202020340201' 4
/020202020!4020$7228 +2- 2.2662.222 
1022 2 402.28282+'2662.%28 2 
022.282 22+ ( 2'2 2 2.28
 02 22+72782(78278228 720 4
#02020202034020$2 222 828 
*020202020!4020.2 2)2 2 2+ 2%9* 2%9,4
                                                        RSSTUVVTWXYZ[\]]^_`
                                                        XabcdefghicjdhkaTlhmop1
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 13 of 92

  345675879:43;4<=                                             KLMN7OPQ7RORR
  >4?@A:BAC7DBECA7FG7<B:H7CI7;JII4?C                                      oR
010202020203402056784
09020202020 4020  22 27 272 2
00272 276272727  722 2  2!4
0!022  272727  722  2!2 2762727
0"02   2 2 27622 2  21#4
0#020202020 2$$272 227272 21#227
0%02&782   22&2   272 2 
0'02 74
0(02020202034020 2727)
1*020202020 402021('#4
1102020202034020 28 2& 2$$2678402 21('#27
19028 2$$2728 2& 2   227227
1022  4
1!020202020 40202  272727+2   402, -
1"02727222 2.&&72/ 20 7  4
1#02122  2  27 4022 8
1%022+ 282 2782&272   2272
1'02 2 2222 2& 2 7
1(02 2722727782& 272&2   272
9*02 27622 2  21#4
91020202020 & 2 +2721#2& 2728 7 2 2227
9902 2   22&2   4
9020202020340205678402, -2 272 2 & 21('#
9!02 282 6 227 )
9"020202020 4020222 27 22782227
                                                        STTUVWWUXYZ[\]^^_`a
                                                        YbcdefghijdkeilbUmin1p 1&
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 14 of 92

  234564768932:3;<                                             JKLM6NOP6QNQQ
  =3>?@9A@B6CADB@6EF6;A9G6BH6:IHH3>B                                      no
010234567829 2 
00202020200200249252124226721
0 02428926792 6!63 02" 9 27 #9$
0%020202020&020'25 965 32672
0(020202020020
0020202020&020'2 5) 326729 2 6!63 2*43252
0 02 5
0020202020020&722729 52+59672,69 67
002 6!63 $
1020202020&020-
11020202020020.63242 272+5967$
1020202020&020-2'2363279
1 02020202002002&732/29 2,23242 ) 27
1%02! 6035 726720,2 75!  79$
1(020202020&020-2'23279
102020202002012/2122, 002659220024
1 02!55 !92 262' 2,5782/492692473206 24
102 ) 2*469 22832 5
1020202020&020'2 ) 22652 5
02020202002021242, 5 272 #+ 56 7! 32400
1029567 32 6!63 23 9 !96) 265292$
020202020&020'2,29567 302'2,20 5767829
 025+ 2672102 12 2 
%020202020020" 0024 32/ 722 6!63 23 9 !96)
(02526#2 5
                                                        RSSTUVVTWXYZ[\]]^_`
                                                        XabcdefghicjdhkaTlhmpq 51
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 15 of 92

  :;<=><?>@A;:B;CD                                             RSTU>VWX>YVYY
  E;FGHAIHJ>KILJH>MN>CIAO>JP>BQPP;FJ                                      vw
01020202020340205612782569 2 8
09020202020402025694
0020202020340202569 2272 272 22
002 2 28 2 402!7282"788"4
0#0202020204020!72822 $8 "27% " 
0&02" 22 2"788"
0'020202020340202 52"7 82 2722((22 27
0)02"7 82 2722 $8 "4022 28 *2
0602+7287%2782  78 272"  228
1,028278227*2 %4
110202020204020-.402/722162((2 72 21669 2728
1902  28 *2287$ 2"788"
10202020203402002 2"788"4
10202020201284207%$ 72822$7  743
1#020202020!2244245/067
1&0202020204020327282 *282"8272%.
1'02 822((2" 27282((2 522
1)02 $8 " 2728282"8272%.2 8
16022728277 *2228 2
9,028* 7 222727828  * 2"788"
910202020203402028 27 2 4
9902020202040208 272%2 2782  2727
90292 22"788" 2 8
90202020203402028 27 2 4
9#0202020204020" 272828 *2287$ 4
                                                        Z[[\]^^\_`abcdeefgh
                                                        `ijklmnopqkrlpsi\tpu!x81
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 16 of 92

  45678698:;54<5=>                                             LMNO8PQR8SPSS
  ?5@AB;CBD8ECFDB8GH8=C;I8DJ8<KJJ5@D                                      pq
010202020203402056778292 276 826 82 
002 64
00202020204020 826  7221826226
002 2 22 7 2 2 2 2! 62 66"62##
0$02 22 77827 226772!62##292% 2 2776
0&022 2627 2262' 72(76
0)02*6+ !62282292 22 %22, 2 26
0-02! 62.6 82% /
0020202020340200 2 7 26264
11020202020402022!2 6   82 263 !+7682
1102 262! 622 2 2!62 2628
102+6262 2 2+7622##2 2 2##2 2 
1026 "6 2 !2  2 2+76226 26 4
1020202020*6 2 2  2 /
1$0202020203402092 2 7  27 6 2262
1&027 822 62 6 62!"6 2 662 6+ 62!6 4
1)02020202040203772 402'26 2!622 2 77
1-02 2+62 !2 2 !62##2 2 !62##2 2 !6
1026 2 262 +6 "  2  2 26 "6 2 !8
102 6/
10202020203402006 62 7 262 26 "6 2 ! 82 
02!!  26 2 ! 82 27 682+62 !2 2 77
0262 66"6 2 2 6 62 6 26 682  2 
02 7 262 24
$02020202040203772 4023 2 77262 66"6
                                                        TUUVWXXVYZ[\]^__`ab
                                                        ZcdefghijkelfjmcVnjors6 1
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 17 of 92

  12345365782192:;                                             IJKL5MNO5PMPP
  <2=>?8@?A5B@CA?5DE5:@8F5AG59HGG2=A                                      mn
010234567829 2 72 57247 254424557 
0020202020020  2924557 
00202020200209752  2 925442375729 2 43
0020202020020 2  2!975
0"0202020200206#02 2!927 4  2$$2! 2
0%027 4  242  27&75#!48#26 7327&75#!48#27 7
0'02! 9 72(952 42#
0)020202020020*7 2372 2 8275 728762  237
0+023456782(54
1,020202020020-9 02 2 9672 #2$$2 9672 #29 #
1102 499872 9 239 28762#4 2 27 22 4 24(
102 972  69 2 424 72 4 752!4 23  2#4 23757
102849 2(952 42#
1020202020020  2924557 
1"020202020020  23  287 7 9&728424557 
1%020202020020.4 25724557 
1'020202020020 823 757232 72 54 92 9 29
1)0257  94 2 42 4998729 2+
1+020202020020 72 54 92/ 82 2  2 9723
,02 4 7824 2 72 9582( 44502.4 234 82 &72 424
102843 224 7 72 4 245598452 2 72347 
027 2! 462 82 7#23757267 29 2245 752$$
0245 7524((9724 2 72 9582( 4452 2!#2 77 &7
020202020020 259 02072( 44522#4 2 4  
"020202020020072( 445
                                                        QRRSTUUSVWXYZ[\\]^_
                                                        W`abcdefghbicgj`Skgl.o751(
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 18 of 92

  12345365782192:;                                             IJKL5MNO5PMPP
  <2=>?8@?A5B@CA?5DE5:@8F5AG59HGG2=A                                      mn
0102020202034020567829 4
00202020204020 226 2 262 8828 26
0028684
00202020203402064
00202020204020 826 2628 8!6"2 282"2"28
0#029 26282 $8 2$%8  6 2"2" 22" 
0&02  8$26 2" 29 $ 8$$26 2" 2 8$$8$26
0'02!  7$26 2"7% 6 6$2
0(0202020203402064
1)020202020402026 282882 "262829""72
1102"2828 2"2826 6*2 2 $28828
102% $"8$282 26 2" 26282"82"28
1029 *26 282 "262 "2" 822626 *
1028 $8278*2"2" 8*29 2626 *26 282882 26
102$8%6682" 826 29287$8 !8$4
1#02020202034020+"2" 402 2" 2" 26 2"728
1&02"7  82" 82"282  2 ""2"2826" $
1'02" 8,
1(0202020204020*269$" 8 4
)020202020340206402 272  8$6 2 $288
1026$2 8$$2622 8$$2622"6 2"7  8
02 88 !8$2 2-(.2 $262 ,
0202020204020 82882 7  $ 2 2$ /8*29 22 
027 298269" 2)2"22022826 2"776
02" 8$402 826 262 82"2"7  8402 826 26
                                                        QRRSTUUSVWXYZ[\\]^_
                                                        W`abcdefghbicgj`Skglop81
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 19 of 92

  12345365782192:;                                             IJKL5MNO5PMPP
  <2=>?8@?A5B@CA?5DE5:@8F5AG59HGG2=A                                      mN
01023445463762895 2 29 585 02 2932325 6 7376
002 2932 2 2 5 2 6 865 24  3764237269 7
00269 24 85 582 42622695723626936265 2
002  2 726 23 622 22 6 865 42 3! 2 44
0"02# 2
0$020202020%020&3!
0'020202020(02028 2 2! 28 289 82!289 857
0)0269 2 46 4
0*020202020%020# 2+462 572 2 9
1020202020(020&3!
11020202020%020,628 6357!2 269 2 34 72# 23457
102542 834 28 6357!269  2  2 2 7 9
1029 585 2 6 865 426936232 269 2 6 865 427 
102 7 237 69 28  86-
1"020202020(020 2527 2 3892 69 2! 4
1$020202020%020. 2 762 626 278926  69 /2! 
1'02 762 62 2 3426  69 /2! 2932574
1)026  69 02. 2  23265962789
1*020202020(0200 !6957262574022 22 7#6
0257
1020202020%020(902. 257#62 2569269 29 7269 !
02932574-
020202020(020. 422 762569269 2 2577 26
022 22347#62 572 624 85 583!26 25723 6 
"0269 2495 6
                                                        QRRSTUUSVWXYZ[\\]^_
                                                        W`abcdefghbicgj`Skgl.n 1
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 20 of 92

  ;<=>?=@?AB<;C<DE                                             STUV?WXY?ZWZZ
  F<GHIBJIK?LJMKI?NO?DJBP?KQ?CRQQ<GK                                      wx
0102020202034020567278729 2 278729 2  278686
002 29 26276
0020202020540202  72786864
0020202020340208729 222786862  2
0!02" 729 2 2  
0#02020202054020$ 2226 4
0%02020202034020528402& 2"8692921''29
0(027876)27864
0'02020202054020*) 2" "4
1+02020202034020& 29 2"8692 "88,72-82
1102 2 8"8727"8 4
102020202054020. "4
102020202034020/ 26-2 24
102020202054020092 862 62 12 4
1!0202020203402026-2821 88 
1#020202020540203 2 12 29 4
1%02020202034020&922-92 -2 6927"8 2 1
1(02"  2-228621''
1'02020202054020*2- 722"824867
+02386 2) 23  $ 5 462"8238"2428
102862872 87728688279 6 27 / 5 $ 84
020202020) 26 2 2-622 2-62287281
02"825 8 2988 29  7 7  5 3 82-
022 22862272872: 21 2
!02874
                                                        [\\]^__]`abcdeffghi
                                                        ajklmnopqrlsmqtj]uqv/y11
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 21 of 92

  :;<=><?>@A;:B;CD                                             RSTU>VWX>YVYY
  E;FGHAIHJ>KILJH>MN>CIAO>JP>BQPP;FJ                                      YV
01020202020340205662789 4
0 0202020205402056 8254022682 27 87
00278 72 22778894
002020202034020 402 2 ! 2 722 " 2 72 74
0#02020202054020$" 2 72 72 402 2%&!24
0'022222282 402( & 8279 2)
0*02+!7 2+,-./04
01020202020340205662789 40252 2 2" 22 
02028 2  22 2 72"2 22 27& 8&2!8
1302"2 2 2 87246 74025 72"2 2!7866&
1102 72 28 6689&2!8 6
1 020202020540202 2 284
102020202034020772 72 42  6
1020202020540202 2 72 428 2! 22 8 2 "
1#02" 72  2"726 & 282 !72 9!7 740277
1'02" 2 74
1*020202020340207 2 &4
11020202020540207 2 &4
12020202020340205 2 6
 3020202020540202"282 2 8&829!4022 2
 1022 2 2  7 !8 2 72 224 722 29 2 "
  02 7222 24 72 28 6689&2 72
 0284 7 8 2" 22"2 74
 02020202034020772 2 2 2 ! 22!&
 #02 72
                                                        Z[[\]^^\_`abcdeefgh
                                                        `ijklmnopqkrlpsi\tpu0v714
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 22 of 92

  6789:8;:<=76>7?@                                             NOPQ:RST:URUU
  A7BCD=EDF:GEHFD:IJ:?E=K:FL:>MLL7BF                                      Ur
0102020202034020567289 4
0 020202020 4020 629826226262 
002 262926 264026 29226
002 294
0 02020202034020!2 294
0"020202020 40206 2#6$92926 26 26
0%0262872&!2 226228 9#294&
0'02020202034020!2 22 6228 9#
0(029402!26229)22*$$62+69#
1,02-. 2228 9#294
11020202020 4020/72!28292#28 9#
1 02902!28292#299#29402-6
102621126262)626$211262622292
102!2)9262
1 02020202034020872!264
1"020202020 40203)4
1%020202020340206289299#2940248
1'0286922!2)625982$6 2286 2. 9626$
1(029722!262)6229 2$#96826 211
 ,026 229 2982 4
 1020202020 40203)402329821129826 211298
  026 2 #6#96262 22 26 28.6)26
 024
 02020202034020!29264
  020202020 402032 9402!22#872!2)292
                                                        VWWXYZZX[\]^_`aabcd
                                                        \efghijklmgnhloeXplqs 1$
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 23 of 92

  345675879:43;4<=                                             KLMN7OPQ7RORR
  >4?@A:BAC7DBECA7FG7<B:H7CI7;JII4?C                                      RR
010234526789 3 9 2 6 327 27 2 725 234762
00253593 5 2 534 62 523473
002020202002045258528 66 6285332 0245
00247272 32 276 582!79234585
0"020202020#02028 430262$23752 323473
0%0295837 62 62& 7 2 52''2$2 5 2 5276
0(027) 829 32 623452*+ 272 2572 23452''2
0,02 824  9 52 82 6 528 2793  32 7 823
0+02 7
1020202020020- 278529 88593
11020202020#020.7!52("2589563
1020202020020.7!5272 3352! 32 85
1020202020#020/7020 3 2 28 24  9 5 
1028 '8573524  9 5 
1"020202020020-5 2 8
1%020202020#02062 2 25652 247 62729 52''
1(02 2''2 62 85823 2 2 82) !25 593 52 247
1,023 24752729 52 8 628573 6 4 2 342345
1+026789 3 9 2 958 276234526789 3 9 253593 5 
029 88593
1020202020020$2 6*3234 62 327 29 52! 32$26 
02347323458527852 997 6 245625265552 534 6
0252 23723 2 55872 23452 958 2 8 2345
026789 3 9 2 1 7
"020202020#02028 4302252 62 8582''295837 6
                                                        STTUVWWUXYZ[\]^^_`a
                                                        YbcdefghijdkeilbUmin-o581
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 24 of 92

  567897:9;<65=6>?                                             MNOP9QRS9TQTT
  @6ABC<DCE9FDGEC9HI9>D<J9EK9=LKK6AE                                      Tq
0102345256789 4472 2 24 242 82 478 26
0025 42 2 2 82898228982624668 46
002 27952489 46 24998 
00202020200204998 
0 020202020!020"4262497892 4274234592#4$288 %83
0&02 2 228 8 32 2 234562 478278 8 %8
0'02 2 249 6 24923452 42(642 8278986 2795
0)02489 46 29 
0*020202020020+42 , 264998 
1-020202020!020. 02+42688722642688724923452 42(64
1102 827952489 46 2 2 456 8724924982 6
102' 28986 242 8259789 2625 4
1020202020020/ , 24998 
1020202020!020 62345280 62 2 4282 9
1 020202020020$ 45 830214 2424592 8 2898264
1&02 4756 2 8 02/ 8328982 8 2 289827468
1'02 22 2 68 8 2 2 6 2 2 8687
1)02 89828245722824576, 2 %82 425 82 8
1*026 94  2 25 72 4286 682 2 4756 
-0202020203624 892497 282746, 2(642 32 48468
102 262 2 45 82 32 484682 2(870214 24
024592 68 8 28982462 82 988 0248278%8487
02%8932 9462649 462942  29428482
024572 262942 68 8 
 020202020/ 2649 4624572$8249(872462$5 23
                                                        UVVWXYYWZ[\]^_``abc
                                                        [defghijklfmgkndWokprs891
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 25 of 92

  ;<=>?=@?AB<;C<DE                                             STUV?WXY?ZWZZ
  F<GHIBJIK?LJMKI?NO?DJBP?KQ?CRQQ<GK                                      Zw
010234567288292345672 22452 2882 23 2 
002 775254 32727 25 47 2 3029727
002 5672  55
0020202020020 2 702!4272742 2  "276
0#024 27 7$4527 72 742$4 27 52%#2 57
0&024'27 24$ 3 252('' 42 25 47 2  7 3"
0%0272 5672$4 7 572'4 242742  2  745
0)02727 25 47 23 7 7 2 5324'' 
0*02 45 5523 24 745
1+020202020,-2-.!!/020 7452742'4 $02142$ 
1102 5 
1020202020234259264!!/0264"246 25245 24 3"
102$4 7 57020'2 4  272432 2$4 7 572'4 2 
1024'227427 727427 25 47 288
1#020202020(12,-2(-.!296/
1&02020202002007 
1%020202020 0208827 25 47 2 30297272 567
1)025 3 32452 2882452 2  2882 23 2 2'4 24
1*0244752 5324 27 50297272 567
+025 3 3
10202020200208  2 5402(72 7 52423327
02 5427427542427 272882 7 5242 32
0244324 752754 3 221**288273 5
0202020208 724'2 "242 $27 2 2 2 
#020294242 453 24  '2 2 2:
                                                        [\\]^__]`abcdeffghi
                                                        ajklmnopqrlsmqtj]uqv1x 1'
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 26 of 92

  345675879:43;4<=                                             KLMN7OPQ7RORR
  >4?@A:BAC7DBECA7FG7<B:H7CI7;JII4?C                                      Ro
0102020202034020564
070202020208402096 2 2 262 2 2 262
00262262 22262 22262
002   26266 2 6217402 6 2! 2"6
0#02 22 6 "2! 22 2 402$6 22
0%02 262"&
0'02020202034020()26 *22+2   2 6
0,02 "*26 2#-2"  4
00202020208402032 *402$ ) 2!*26 2".
1-02"2"  2*64
1102020202034020114
170202020208402032"6 2   22  ".26 &
102020202034020+2   226262*2 62114
10202020208402032211.2  2"6 2   
1#026 626 2 2 2*6*26262 2 .
1%02"6 2   2.2 262"&
1'020202020340209 .2 4
1,0202020208402032 6 22 2 262"222
102*  2 .2"6 2/  22*662 6 !*
7-02!6  * 262 2 *26 6220 62211
7102217&
7702020202034020+2 6 2 262"262*4021"226
7026  2626 402 6  22 6 2 2
7026 222  2+2 262 2 62 26
7#02.2 2+222 6 !*2 62 2
                                                        STTUVWWUXYZ[\]^^_`a
                                                        YbcdefghijdkeilbUmin9p 1
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 27 of 92

  567897:9;<65=6>?                                             MNOP9QRS9TQTT
  @6ABC<DCE9FDGEC9HI9>D<J9EK9=LKK6AE                                      Tq
010234567896 2 4 0227  24 2  8973 022
0024 24264 284822227 3 2 72932427 
002 77324 2 64  2932827 2797 28
0 0252937 2932 5 ! 
0"020202020#020$402%72487 !22487 !2&'2
0(02487 !27528432)"25638272827969  293
0)02* 47252 5 ! 493!2548 221++1243
0&021++27 ,52893!227 2 9 237824242!77
0+027593!237 !27282 5 ! 493!27548973 293
1'02* 47
11020202020-020.4829 267556802/52466 548
1020202020#020-3 29 2982!793!287227 527 98973
10287 4284827 24 23729 4272/43893720917324
1 02597528729 2455 8275289 2 5 52
1"020202020-020.4829 2675568
1(020202020#0208, 2378284827 2 73,82552927
1)023272/43893720917324 028, 27 528 8973
1&02 3 52748287 4284827 24 23729 4272/438937
1+020917324 26755682
'020202020-0202352329 2342 3892848239!8
10272827969 
020202020#0202848, 22848, 2 953822
02438287242 522 3 5 843 2848
 02020202037 2 9 3,82372/43893720917322342
"020202020-02047
                                                        UVVWXYYWZ[\]^_``abc
                                                        [defghijklfmgkndWokp3/51
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 28 of 92

  :;<=><?>@A;:B;CD                                             RSTU>VWX>YVYY
  E;FGHAIHJ>KILJH>MN>CIAO>JP>BQPP;FJ                                      Yv
0102020202034020562789  
002020202040204
0020202020340205622827 8
002020202040204
00202020203402088 28 72227 2788 2
0 027 822 2 82!7  
0"0202020204020#29 4
0$02020202034020% 22&&2 22' 62()2*+7
0,0202020204020#29 4
1-02020202034020% 227 2788 227 822' 62  #
11022627 2788 227 822' 62  
10202020204020#29 4
102020202034020. 2/8782'208 21 229
102+8 2 2 262 89872 3#2  8 
10202020204020.2 821--2 8 82  8 4
1 020202020340202 40248592/822&&28592/8
1"02298 2 /4026222/22627922 8
1$02 226 2 8   2' 276#2/6
1,02020202082628 8298 872 22!3  2 2 9
-02 98#2  8 
102020202040206292298 874
02020202034020.2 8 8 8722!3  2 2 92 984
0202020204020627 74
020202020340207262 8 8262&&2262 3826
023229/ 2622  82989 #262&&
                                                        Z[[\]^^\_`abcdeefgh
                                                        `ijklmnopqkrlpsi\tpu.08 1'
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 29 of 92

  234564768932:3;<                                             JKLM6NOP6QNQQ
  =3>?@9A@B6CADB@6EF6;A9G6BH6:IHH3>B                                      QO
010234526789 82 4 8 28292982 5 82258 9
002 29229 2932 8234529 2 42 982929 8
0024 292 48 2345242 9 2493
002020202002092345
0 020202020!020"82 2 9 2#8 982$$2 9 %
0&02#8 42'8 32 789 2 4282 4522 48 4
0(02 23452)5 2 4 8 2 9 29 8 2 2 9 2345
0*029 8292'8 324427 88 02+4572 9 2#829 2 4
0,02 93
1-0202020200202 32 4
11020202020!020234529 82$$23452$$23452$$282345
1029 2 42#823452 92#82'8 32 9 85729
102 4 8 45 
10202020200202 32 4
1 020202020!020.4529'82 89 29 8 42 428 97/
1&024572 9 2#829 2 42 93
1(0202020200202 32 42982 232$$232$$23
1*02#5 8 238 
1,020202020!02004 29274 28 269 2345
-020202020020 28 269 28
1020202020!0202932 9 829 2928 8 '8234526 8
02345 87242#82 9 857292 4 8 45 /2
02 9 29 2 42 93
020202020020 32 42982 232)4#238 
 020202020!0201 82 9 857732 429 26846782 93
                                                        RSSTUVVTWXYZ[\]]^_`
                                                        XabcdefghicjdhkaTlhm.n8 1
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 30 of 92

  012342546710819:                                             HIJK4LMN4OLOO
  ;1<=>7?>@4A?B@>4CD49?7E4@F48GFF1<@                                      Ol
01023425467
0802020202097020 7
0 0202020207020432   2232 4 2 5
00234254624 23 7
002020202097020 3! 24 37
0"0202020207020 3! 2322442 3 3 24 #
0$024 3%
0&02020202097020 #2 7
0'0202020207020925462(   25462  2)63
1*02  3 23233#22342 5%
1102020202097020  2342( #25 7
180202020207020+ 254623 2342( 7
1 02020202097020,23 2342322 5
1024 4#2 32( 7
10202020207020+ #233! 2--233! 223435
1"02  323702,!2452 .25462(4632( 2
1$02 6#24  346 2 3  7
1&020202020,!242342 .2546243 242)6 34 2(463
1'025462 3 23 #2(632 3242#2,23234
8*0246 2425462( 2 6224  346 #24.5%
8102020202097020/4 37
880202020207020,25462--2 254623 2342( 221''1
8 0221''8#25462  22 52  3 2 3  2 
8025462  23.23423 22 6  3 #2234
802 5%
                                                        PQQRSTTRUVWXYZ[[\]^
                                                        V_`abcdefgahbfi_Rjfkm 1
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 31 of 92

  234564768932:3;<                                             JKLM6NOP6QNQQ
  =3>?@9A@B6CADB@6EF6;A9G6BH6:IHH3>B                                      nN
0102020202034020567829 22728 274
002020202040203 2 82 8227 2 2  82 8
002  286782 2 2 2 9402 2 
0!026"6  287"2 28678#2  8$
0%02020202034020&2  4
0'0202020204020 29828 2862( 2 6 2 
0)0287"#2  8$
0*0202020203402056782 2 2862 6 286782&
0+02788  #24
1,02020202040203 2"684023 2 29828 286
110286 72( 2 $
102020202034020&2  4
10202020204020-67822962296782729728678$
1!02020202034020&2672 2 74
1%0202020204020&.2" "28 272 2 .2/ 8 
1'027 82 2( 287"2 78#2 82&2872828678
1)028678297272272. 878287"22 2 74
1*02020202034020&82972. 878#24
1+02020202040200 .86"286782 28 27 2788.8
,028 2. .822. .822 2  29 2" "
102 97 $
020202020340201  84
0202020204020187 2 267 2 2( 287"
!02 2+#2  8$
%02020202034020&29 27286782  84
                                                        RSSTUVVTWXYZ[\]]^_`
                                                        XabcdefghicjdhkaTlhmo1
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 32 of 92

  =>?@A?BACD>=E>FG                                             UVWXAYZ[A\Y\\
  H>IJKDLKMANLOMKAPQAFLDRAMSAETSS>IM                                      yz
01020202020340205267897 72 279972 229
002926 2 22 2 72729252 4
0 020202020!402052 82 72 2 2 272 74
0"02020202034020! 2 72987 782992 
0#0297 9 2 297297 972 7227
0$02%79299&
0'020202020!4020(74
0)02020202034020*2787&
0+020202020!40205272 272,72( -2.72/ 897
1002172740237 2 7227 28827247
1102*9889402522 99 40237 2 2
1029 7 279227 272 2779 7
1 02 2 28725 2972 2 287
1"02 9972 2 2-72772 2 2 887
1#027 9774
1$0202020206798277972252252252 97
1'0292142697828728!19,:214247 2;77
1)02;99:2142*7729292*9%,9%2.297
1+02./53<9%40247229272 2 2 
002 227774
102020202034020!88272692974
020202020!4020(74025222977922 7
 0297792794
"02020202034020- 402. 222672 2
#029922 277287287229272%79
                                                        ]^^_`aa_bcdefghhijk
                                                        clmnopqrstnuosvl_wsx({71
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 33 of 92

  345675879:43;4<=                                             KLMN7OPQ7RORR
  >4?@A:BAC7DBECA7FG7<B:H7CI7;JII4?C                                      oR
010234567678257923 2 353 2345676782 722 7
002673 46  
0020202020 2 547 926 4357323  76 23 532 
0025446 92 4549263 2 2672 4254 426723 4 2 
002673 46 6782637 25792   3 2 44 3
0!020202020"020 
0#020202020$020%  736782637 2673 46  2579
0&02   32673 46  2 44 3
0'020202020"020 
1(020202020$020)  67822 72637 2673 46  2579
1102   3 2 44 3
1020202020"020* 44 3
1020202020$020"23 225436542672 77 36 7
10263 23 2+ 6923456767823 2 4 252 4
1026 435732  7 73 02, 23 2 7932572673 46 
1!02 23 29  732572673 46 2 23 2  22 7
1#02572673 46 2 44 3
1&020202020"020- 23 2+ 6923456767825 2 4 27544 
1'026725  325792 532.2 572/23 5326 23 2 4
(023467823 23 5 2 2 72673 46 678252 4 723 53
102 592 633 925246 2 23 28 323 532 4 72
023 5323 2 9267523 2 2 5323 2535
02969
020202020$020015
020202020"020.257286 2 2572 25 
                                                        STTUVWWUXYZ[\]^^_`a
                                                        YbcdefghijdkeilbUminp 41
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 34 of 92

  234564768932:3;<                                             JKLM6NOP6QNQQ
  =3>?@9A@B6CADB@6EF6;A9G6BH6:IHH3>B                                      nn
01020202020340205266252789 2 2  2 2 
002 88240252789 2 2  2 29282 
002 6 2 882 8252789 2 2 88292 
002   25 298 2282!2  4
0"020202020#9282 98292  292$2  
0%02 2 6 2 2 8829 2 292997
0&02 92 2929 2929' 82 8 28   
0(029 )
0*020202020+4020, 2 92 2- 29.2 2 88
1!02 4
1102020202034020+8282 98292 882929
102926629 2928 9  2- 2 2 92
10292'9 2 8  2 2 928   2 8  
1029 )
1"020202020+4020/9 4
1%02020202034020+82 2 92 292 8828
1&029 2 2 29829 292.99 2-2982 '98
1(029 )
1*020202020+4020/9 4
!02020202034020582. 298 29.2 2'92'-9 8
1029'-98 829.2 2 2 882 2928 29
02.99 2-2982 82 '98292   29 )
020202020+402052982872 2662 29 4
020202020340200982 ' ' 2 2- 29.2)
"020202020+402019252984
                                                        RSSTUVVTWXYZ[\]]^_`
                                                        XabcdefghicjdhkaTlhmop 1.
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 35 of 92

  345675879:43;4<=                                             KLMN7OPQ7RORR
  >4?@A:BAC7DBECA7FG7<B:H7CI7;JII4?C                                      op
0102020202034020562789 2 6828 822 62 8269
00287 227 28 28  2728 7 7 28 826
002866272 6828  2628 82 82 682667 2
0 026 2 7 76 !
0"020202020#4020$26 9822784
0%02020202034020#27 84025628 7 27 22 628 7 27
0&02 68 7 28 82692 682 7 27827 982  4
0'02(62) 826 982278286 *27 28 8268+
0,02 7!
1-020202020#4020(62 2684
1102020202034020#27 8402.89 28 2 6826
102  876 26286 4
102020202056262862 28 82627/28 
1 0206 7 84
1"020202020#40200684
1%0202020203402017262 28 206 7 8!
1&020202020#4020$92 682 4
1'020202020340202 82  98262 2 68!
1,020202020#4020$92 682 272$2 28 2 628 7 
-027 227 278 2 878+282$2 62$2 28 26/
102 82 2 2 26286262784
020202020340202 27 98262 28 2 8!
020202020#4020$92 278827827 26 28 7 2 87
 02 826278+2  2789 2 6 82728 
"0206 7 82 6 272782 2  8627 2 8+
                                                        STTUVWWUXYZ[\]^^_`a
                                                        YbcdefghijdkeilbUmin(q1
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 36 of 92

  /0123143560/7089                                             GHIJ3KLM3NKNN
  :0;<=6>=?3@>A?=3BC38>6D3?E37FEE0;?                                      kl
0102345267897 72 7 2 3 24 2942 22 22 2 37
0022223 
00202020202 2 25232526022 2 2782
0 027 765 27 729 232!774534 229 23
0"02742 3 2329 47 234529 2 25954 29
0#0278829 2 7274388
0$020202020%020& 227 29 02'274227352 7
0(029 2)87237 29 25954 29 278829 2
0*0267)3727277222  272772679423
1+0289 8723))3  29 ,
11020202020-020.702.24 22 734 22272388
1023 72262 25 23452 3 2277277
102 53
1 020202020%020.702'2257)95752 2 273594
1"023 722788 2595227 235,022 3 23
1#0237475,
1$020202020-020 2,
1(020202020%020!95227 2352742273529 2
1*023 237475,02!95227 234,
+020202020-020& 22 25954 222 25954 234
102 2772427359429 02 2 229 2 27
02 7
020202020%020!2222457 3452 3 277
 0294222 342 98894225883 29 ,
"020202020-0202457 3452 3 
                                                        OPPQRSSQTUVWXYZZ[\]
                                                        U^_`abcdef̀gaeh^Qiej.m71
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 37 of 92

  567897:9;<65=6>?                                             MNOP9QRS9TQTT
  @6ABC<DCE9FDGEC9HI9>D<J9EK9=LKK6AE                                      qr
0102020202034020567289 92 622296 626
0026966 2 67 4
002020202054020  2  9 4
0020202020340209 92 6222 62 6
00266 962 64022679  672  2  9 !
0"02020202054020  2  9 4
0#02020202034020$7226%222&92'  62
0(0292 62679  676228 289 92 962
0)0277!
1*020202020540209 29 92++29 9 2 2 9 62
1102  2&9 92,2776 272 662 28 28 6
102622++22996402,2 9 2992 2,2776 
10272 6628 64
102020202034020567229292 928 262- .
102 !
1"02020202054020,274
1#02020202034020299292 928 262/'' 2 !
1(02020202054020/''!
1)0202020203402092/''2 9 20 2/''!
*02020202054020  2 62'4
1020202020340202776 272 6628 629 9
0299 2 !
020202020540201 2,276 2&992924
020202020340203 926262$94 2 !
02020202054020  2  9 4
                                                        UVVWXYYWZ[\]^_``abc
                                                        [defghijklfmgkndWokps9 1
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 38 of 92

  ;<=>?=@?AB<;C<DE                                             STUV?WXY?ZWZZ
  F<GHIBJIK?LJMKI?NO?DJBP?KQ?CRQQ<GK                                      wx
010202020203402056789 2 6 278 4
002020202040208726 74
0020202020340209262 278269 729 2786
002
0!0202020204020" 2#$2%294
0&020202020340202 9 87402'729 26 2$2(2))
0*02(2 2  22977276 276  26$
0+026292,7 2 9 27826- 2 276276
0.02 9 4
1/0202020204020 2- 2))
1102020202001421233402"(5796 2762,6 402662
102   4
10202020207829%5833402 2- 2 4
1020202020'620142'123%54
1!02020202034020":4
1&0202020204020%29 72 2782 862789 4
1*02020202034020":402362%27:2972787226297
1+028 276$2626 7272: 6 2 872 2))2-
1.02 872  29 2626,269 2 6 4
/0202020204020872 62(2,9 27624
1020202020340206626 728-2 294
0202020204020872 62(2,9 27624
02020202034020'72 8726262: 6 2927872628-2
02- 2 26 26,2782$2 262: 6 2629
!02 6789 2 6 $2,9 2762
                                                        [\\]^__]`abcdeffghi
                                                        ajklmnopqrlsmqtj]uqv6y 1,
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 39 of 92

  45678698:;54<5=>                                             LMNO8PQR8SPSS
  ?5@AB;CBD8ECFDB8GH8=C;I8DJ8<KJJ5@D                                      pQ
010202020203402056789 2  84
0020202020402067822 86 28672862 82 
0027 2 2862 782678226782 2672 
0!02 7"22  8 286286 2 7 22#8286
0$0282 2 82862 7827"28 "7 %
0&0202020203402056782 "2#2 2'( 4
0(0202020204020562  2 2 84
0)02020202034020562  2*2 8402562  2*27 286
0+02786 28 4023"27 2862  2 8788 286782*
1,028 -4
110202020204020.-7 4023 862 %
10202020203402056789 284
10202020204020/"2 2 7"27 # " 2 9 28 8  %
1!020202020340200 2*2""2 84
1$0202020204020.-7 402/"2 26727 28 286
1&02  2788  %
1(02020202034020*2""4
1)0202020204020.-7 4023"262*2 7 28 2*
1+0272286 2"7 2*2726 22 21 
,02678 2678 2827 2#286782 9 
102  784
020202020340202 2*2""4
02020202040203 27 28 2""2 2672  
!02 2 82862 78%
$02020202034020*2 "26728 2 7 28 2 286 4
                                                        TUUVWXXVYZ[\]^__`ab
                                                        ZcdefghijkelfjmcVnjo2q 1
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 40 of 92

  234564768932:3;<                                             JKLM6NOP6QNQQ
  =3>?@9A@B6CADB@6EF6;A9G6BH6:IHH3>B                                      no
010202020203402056727829 8 02 76226 8 22 87
002020202040205 8 40256727829 8 4
00202020203402040272 7 2 929  025 
0026 8 22
0 0202020204020! 2"2 #22 7 2$292 9
0%02&872'842( 8)*# 4
0+020202020340204
0,0202020204020"2#7-92762&27*267*#2$7# 829 9
0.022$7& 8 $ 27822 94
1/02020202034020402(72"-279276 #297227*
11026 927*29 #2)7*92)*92"-276 #297227*
1027 20* 97287*#294
10202020204020(*8 4
102020202034020(72 76272629 92$71 89729
1 02 9
1%0202020204020)7*92&1 2*9 4
1+02020202034020402(72926-92*)991 4
1,0202020204020"9262)7*92) 2 8 297#4
1.02020202034020402 7622*)991 2 9
/02 1 27*2 #269 2$7* 2$7$ 829 2$
1026 8 27*29 #2)7*929 2&$927&29 2$
0202020204020"267*#2 1 297229 8 4
020202020340205 8 27402! 2629 2&89
02 9
 0202020204020"2#7-92764
                                                        RSSTUVVTWXYZ[\]]^_`
                                                        XabcdefghicjdhkaTlhmpq 81&
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 41 of 92

  6789:8;:<=76>7?@                                             NOPQ:RST:URUU
  A7BCD=EDF:GEHFD:IJ:?E=K:FL:>MLL7BF                                      rR
01020202020340205672869 2 6 2 6 8
002020202040202 2962 4
00202020203402092262 282 62 282 6
0!02" #$292402%2 62 2 282 26
0&02#9402922 279228 29 26'
0(02 
0)0202020204020* 82692 64
0+02020202034020*626'2 92 2 29 27
0,02#6'98262 8$2 "6'22'" 9#26-22# 2
1.0202020204020/ 2#'2 20'2#982-62
11020'2#98227 2 9227692 9 2
1021) 2 226--#26-256 692223'4
102020202034020/$ 402927 2 
1!020202020402092 2-72 4
1&02020202034020882 402*62 26226982
1(026'2 2 99 292#699#692722# 
1)029#26'2729682922" #$2922,.2
1+0221)2 922 926'266$228 2 29
1,0228 2#6' 826-2 4
.020202020402046#4
102020202034020927 2 226'2 2 29 27
02#6'9827926'2# 262 2626#'9
02020202040205 224
!020202020340205672869 27 2 29 
&02020202040202692$967402272' 22-6
                                                        VWWXYZZX[\]^_`aabcd
                                                        \efghijklmgnhloeXplq5s1-
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 42 of 92

  345675879:43;4<=                                             KLMN7OPQ7RORR
  >4?@A:BAC7DBECA7FG7<B:H7CI7;JII4?C                                      op
01023456724829 2 2  
00202020200204502829 242 97 7
0020202020020 2494 46 97242 97 72 82 9723 
002 778 2 872 29482372 972  378 
002020202002045
002020202002082 978267 72 94 2 2672 2! 
0"02482 2494 46 97
0#020202020020$ 2 8%24% 242 94 2 87
0&020202020020'2 8( 24502'248 2))2'(32 5*8%
1+02 2))
11020202020020 72 948242574 
1020202020020'2 28 24502' 242 72 94824
102574 
1020202020020 2 9*2*23524 ,26 2 7 2372- 
102452 2 972 7 .
1020202020' (2% *8%2 267242 8%245,2482'2 9*8
1"02* (2% *8%2 2672 %92 2 972 2 7/ 7 2
1#02%7 2707 5 9*8%2 8,2 2*25 2 2-  2 4724
1&02674 29782'242421 7 * 8
+020202020 37 *3725 24 87523452))23452347248
102 6-7 * 8,26 2*25 2 2 47242674 ,2* 2 
0267274*7 2 297 2 2%7 2707 5 9*8%2 8
020202020!2!2.02'2 9*8,2-  2 2 972 7 (
02 74 ,2 972 7 2* 2 7 7 25 ( 72 972 872 94
02*8( 2 47242674 ,2 2'2 2424  2 94 25
                                                        STTUVWWUXYZ[\]^^_`a
                                                        YbcdefghijdkeilbUminqr7 1
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 43 of 92

  ;<=>?=@?AB<;C<DE                                             STUV?WXY?ZWZZ
  F<GHIBJIK?LJMKI?NO?DJBP?KQ?CRQQ<GK                                      wZ
0102345627892 5 26824 3927892824 26 2 6
002 658 
00202020202 02864!!24"92356 2802 46
0#025 24 28 "85 "2$98! 27892 %2 82235!!2&&2235!!
0'02 424 277896
0(020202020)*2+* 02 46, 23 23,92 9
0-020202020.22
0/02020202000201402+4 26 462 65 "2356 292
0202 8926 4 2 52 8 6 24"83
1402020202050208
1102020202000201402)832!8 "234 26 462 65 "3
1020202020502052 46692872 89 
102020202000208926 4 26383
1#0202020205020. 
1'02020202000208926 4 27893
1(02020202050208
1-02020202000205 62 83248626 2 65 "278926 463
1/02020202050207 62957!25 29"496 26826 462&&
12026 462&&26 4626 238!6229$9  65 "2 
402020202000205!!295" 6025 862! 2$9  62789
1024 28726 8 2 65 " 286 926 4 26 26 9287283
02020202050208
0202020200020)48282 4624 265 9 58 2356 24 
#028726 2:7 64 6 25 26 5 294 2 5 9282392 4 6
'024 242:7 64 630258624 6 5 "%2759 628724!!
                                                        [\\]^__]`abcdeffghi
                                                        ajklmnopqrlsmqtj]uqv.x917
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 44 of 92

  =>?@A?BACD>=E>FG                                             UVWXAYZ[A\Y\\
  H>IJKDLKMANLOMKAPQAFLDRAMSAETSS>IM                                      yz
01020202020340205674
0802020202094020
0020202020340206662672 6
002 !"34
0#02020202094020$72 627%%22&'(()2 *2) '7
0+02020202034020,6-727%%22*6(2 *262)674
0.020202020940203(2) '-627/ 062 2 2762) '2166
0202766(27226*6(
030202020203402032 62 **64
14020202020940205 '216622) '27/ 062 2 2 6 64
11020202020340205674
1802020202094020$-22$-27 )2$2 ' 22 -7
1021 2$2172)2 2704
10202020205!4263,36!378, 9025674
1#0202020205!427!86:$902$2((-2702*2 62
1+0202020205!4263,36!378, 902: 2 626;62-72
1.02/62 67 4026 )4
120202020207525!427!86:$9
1302020202094020 7221726662 62/676
8402* 2 62 *2 626672) '2 (21 2) '
8102 6)7
8802020202034020< 64
8020202020940200)402: -722 -721 2$262
80270402$2((-2( 22%6%)4
8#020202020  266722 12)26672172 6
                                                        ]^^_`aa_bcdefghhijk
                                                        clmnopqrstnuosvl_wsx5{61*
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 45 of 92

  012342546710819:                                             HIJK4LMN4OLOO
  ;1<=>7?>@4A?B@>4CD49?7E4@F48GFF1<@                                      ll
0102345657829 42 8 2 
0020202020020682 75
002020202002072 628 828 52 682455782558 7
002020202002082 6
0020202020020 28 82 628 52 2 2! 72 628 8
0"02558 7
0#020202020020$ 828 2 46
0%020202020020!!24  80272 2 2635&28
0'02(5858 )52* 75472$59 452 42985428 82558 72
1+020202020020, 
11020202020020*582529 7 6 28 52-568 7
1020202020( 2 2635&28 2 2$59 452 42985428 8
102558 7282728 52$ 828 6265
1020202020020, 
1020202020020 28 52 7!2 666 728 82 25)54
1"02 2 8 2(5858 )52* 75472$ 828 626526 75
1#028 52.'+62 62 572 2 5452558 72 8 2 4
1%0288 47562 8 2 
1'020202020020/ 8.62 4458
+020202020020( 2 2 )5272754687 7262 
1026 82 54528 262 828 52 2628 2 82 8 54
02(59577862 42 875665628568 9 528 2 728 62 ) !
028 726 294
020202020020, 
020202020020 2 8 5428 72 425 42 92 8
                                                        PQQRSTTRUVWXYZ[[\]^
                                                        V_`abcdefgahbfi_Rjfkmn5419
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 46 of 92

  89:;<:=<>?98@9AB                                             PQRS<TUV<WTWW
  C9DEF?GFH<IGJHF<KL<AG?M<HN<@ONN9DH                                      tu
0102345567682972 39 2 4 624782 362 6265 2 34 2
002696682222786 4789724 2 2 39
002 9922 9929 94 9729 242472 4 62 492 
002 4
0020202020 020!6
0"020202020# 020 622662 7829462972$ 9%
0&0297 897242'997247824234 284 2972579 96
0(0284'46 289822 39724 2 34 2 9'629 2'93 26
0)029'5 47 2 28242'62 46 26962 2 36
1*02464 97 24497 22972 39 2 4 6
11020202020 020+
1020202020# 020293 02!2786 4782 842 34
102,467 972-9.724 26.764 682 2 3 9727 976
102/97620 9 12223'2 27 976224947
102/4  72472/4  724782/37259472 6 
1"020202020 02066
1&020202020# 0207822786 4782 34 274'425 
1(024 2 79 682 24 42 ''9 972 3 62 9'6
1)02 97 62 34 2 9'6
*020202020 02066
1020202020# 02078222 4629 2 34 225 9 972366
02 8429 2 34 286 59 62 362 4 2 34 2,467 972-9.7
024 26.764 682 2 34 2 3 972478274'425 
024 2 79 682 2 34 2 3 9729 3 2296
02 34 2,467 972-9.72 3 247829682 3 622 3
                                                        XYYZ[\\Z]^_`abccdef
                                                        ^ghijklmnoipjnqgZrns!,61
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 47 of 92

  89:;<:=<>?98@9AB                                             PQRS<TUV<WTWW
  C9DEF?GFH<IGJHF<KL<AG?M<HN<@ONN9DH                                      tu
010234526788952 72 36 42345292 9 2 9
002020202002025752998232329
002020202002024 23674272 2575299823
0!0230223674272 299823232 53
0"020202020020#9
0$020202020020% 2 2& 77 429 92 532723
0'02(389474 2)7* 4272 782 2 742 7
0+02 36 423 42 36 423452 42% 887,342 9
0-0202020200202998232329
1.020202020020 3232 2/9879,92/3952 42
11023 9 8274,9737 42 9
10202020200200 9
1020202020020 9239232 2/9879,92321 22 73
1!02352 2/9274, 8,952742926788742 272923
1"02 4,795
1$0202020200200 9
1'0202020200204292325 2 2/9879,9232544
1+02)9 3272 782 267887429 253 9 026 7/8
1-020202020020#9
.020202020020%9232988277292329882/92 7
1020202020020(9 2 4829
020202020020% 2742 9 2 52 2/9879,92544
02)9 3267889529 253 9 2 
!020202020020 32 9
"020202020020882 7024527723452 2/9879,9
                                                        XYYZ[\\Z]^_`abccdef
                                                        ^ghijklmnoipjnqgZrns#(9 1
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 48 of 92

  789:;9<;=>87?8@A                                             OPQR;STU;VSVV
  B8CDE>FEG;HFIGE;JK;@F>L;GM;?NMM8CG                                      st
01023453266278349 57
0 020202020 25328 2342 3825234 27525
00238538 234532752 3 925323423 8522
002533 234532 2 3827528  3 022 5
0 0234532 8!43"
0#020202020$ 020292 5234532
0%020202020& 020'329832 2533 2 3 8 !25
0(0238538 2 2 2452233889234532
0)028 *28+9242752!832 3"
1,020202020$ 020- 3
11020202020& 020$ 92345327922.523 24 
1 0278342/5 38 2081 020832342532345326625 9
1028322528*85 283538 2 3"
1020202020 234 27 92/5 38 2081 275
1 021  5392 2342438 !25 9235*5 2433275
1#02 +8392 3"
1%020202020$ 02028
1(020202020& 0205+ 342983234269885
1)02 98 !28 98 !23428 +38!538 2234
 ,02 32533 22828322 2823453
 102/5 38 2081 27528 99234243 2 3"
  020202020$ 020- 3
 020202020& 020$ 92 22342 5 26625 9272 
 02!8 !232!28 32 382528332832* 28 29358
  0253 232 22342 5 274222
                                                        WXXYZ[[Y\]^_àbbcde
                                                        ]fghijklmnhoimpfYqmr/ 1
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 49 of 92

  =>?@A?BACD>=E>FG                                             UVWXAYZ[A\Y\\
  H>IJKDLKMANLOMKAPQAFLDRAMSAETSS>IM                                      yZ
01023456789 24 42 542 327692724 255323
002 32 627534 724 424 2679 29 7 467
002652 54287824 2 336732 629 24 42 
0028 2324 52 2 32537426524 2553265
002 62562 24 42765 46726554
0!020202020"#020$6#
0%020202020&'#2'())*02 +467246265#02,62 735#
0-020202020.,2&'#2.'()/0$*
010202020202#020"99258 4#023499262 524624 4#
16020202020072 7 2 32 652634672724 32 3
11024 3292 4672324 427 97476286727269
10296623 642 725992672 72 7267246
10264 5326554
1020202020&'#2'())*02 +467246265#02,62
102 735#
1!020202020/9:230/$:))*020423655
1%020202020&'#2'())*02 +467246265#02,62
1-02 735#
11020202020/9:230/$:))*02026292 2 32769
602724 42 62 3#
1020202020.,2&'#2.'()/0$*
0202020202#020)6202 352 62 25742;3467#220
02 742462 52352 62 72 73524#0202 62 744
02 7352 2;34672 624992242<<2420
02 742<<242 6272462<<2 6272462 73524 
                                                        ]^^_`aa_bcdefghhijk
                                                        clmnopqrstnuosvl_wsx,751
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 50 of 92

  =>?@A?BACD>=E>FG                                             UVWXAYZ[A\Y\\
  H>IJKDLKMANLOMKAPQAFLDRAMSAETSS>IM                                      yz
01023456789 2 268 
0020202020 2 2 72792282 247525685
002942852772 5 78 92!8"9 269728 29299
0#02 28529 52  2 294 527929756$
0%020202020&'2'())*02+,5789 2792-9 02.942 
0/02 65
0002020202012324 153))*02 2 2 97264529 277
060202020207.2&'27'()1 5*
080202020209020 2 26527522752569 277294
1:0258552772 5 78 92!8"9 26972 285
11027965226972 28529 52  2 294 5279
1029756286254652942294258552772942 
1027529752575785629 475225-4
1#029 685 78946257828 5678789 2957$
1%020202020020 29
1/020202020902059257 62752299272;52269
10029 529-275278 62 298 2792525-58 27922
16029 72 928-294 52655 278602.942;925
1802655 2;7629-28724727862862752;9852-85277
:025 52;4727957526529 294 5 76277255
102;9452792462-9 275287
020202020<86729-229424 567 2772277
0298 2792;982 2;95452;985
#025;976222;9852-852-9 229 885265286
%0264;;9652792525;728 2;5;574872957$
                                                        ]^^_`aa_bcdefghhijk
                                                        clmnopqrstnuosvl_wsx. 51-
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 51 of 92

  9:;<=;>=?@:9A:BC                                             QRST=UVW=XUXX
  D:EFG@HGI=JHKIG=LM=BH@N=IO=APOO:EI                                      uU
0102020202034020567829 2  84
002020202040202 86 2  286228629286782
002  92 6 227 82862927 29829 8
002921 4
0!0202020203402082 6 24
0"0202020204020# 2 $869%2% 82 840232 
0&02  8792672 2 7 28 2927869%2% 8
0'02 82  8(
0 020202020340202 )822728 2 74
1*0202020204020+ 282$27 ,2 28 287,272 ,22)$
1102% 9%28 2  28 2869 2-982729828 7402569 29
102.7989) 2/69982269 629 28620 9 29
102867822788$0828 20828 %86 4
10202020203286 ) 2286 ) 2178  87$0207% 2 
1!02862 88 $2 9%68286782)$2% 9%28 22  9%28 
1"0272 2)$2% 9%28 2 ,2782862292 2 
1&02 ,2782862  22)$2 22222
1'02$9 0 ,4
1 0202020202782 28 2 ,2
*020202020234213#+545026)2% 82 $28 7 292 
102% 2784
020202020172234213#+545
0202020204020)$2% 9%28 2  28 286207% 29286
02$926 28621.8207%29 4028 2 2 286 
!02178 2 87$0 (
                                                        YZZ[\]][^_`abcddefg
                                                        _hijklmnopjqkorh[sot7v 1
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 52 of 92

  =>?@A?BACD>=E>FG                                             UVWXAYZ[A\Y\\
  H>IJKDLKMANLOMKAPQAFLDRAMSAETSS>IM                                      yz
01020202020340205674
0802020202094020 762 62 62 6722 2 266
002 4
002020202034020 4
002020202094020 272 2 2 62 2 2 2 6
0!02"#4
0$020202020%&42&'(02 402) 62*66+,62 - +
0"0272 2 2 2 2 2 622./720 2 27 
0102 2 626+ 22 222 2 662 2 7
1#0234 -272 6264 +2 +6262 2220 /22552
11020 /226,627 27 / 64
180202020202 27 272 4022./725520622 
102 04
1020202020%&426&' 7(02 4022552 2
1026 67627220 72 /2-6726 2 2 /
1!02 6 62- 7622 20 20626+6,622 2552 2 6
1$02+2552 62 +6262  8
1"020202020 932) 73(02567274
11020202020652%&426&' 7(
8#02020202094020 2 62 2 2 2 62"#2 6 764
8102020202034020) 2/-680227 4
88020202020940203 2:6 4026;*26 2:6 4
80202020207 0272 2 2 7272 6
802 67<- 2 2 2 /2622 /22 7
802+ 762+ 6+8
                                                        ]^^_`aa_bcdefghhijk
                                                        clmnopqrstnuosvl_wsx5{61
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 53 of 92

  /0123143560/7089                                             GHIJ3KLM3NKNN
  :0;<=6>=?3@>A?=3BC38>6D3?E37FEE0;?                                      kN
010202020203402052676289 2 7 27 29 4
00202020204020926929 2892  
0020202020340205 262229 2 8778278
0028  29978 4
0!02020202040203 27  402"278 9# 79829#2 9#
0$029 4
0%020202020340205 2694
0&0202020204020'9 2987 2 92 278 9# 798
0(02982 7269 #8 )29 
1*02020202034020')274
110202020204020'9 2 7 62226  7+2)
1029 
102020202034020')274
102020202040203862,,28625#2 978 2 92  2 92 7
1!02 7822 7 2#927 7 262982
1$029 29 2+2 9 62#)2 222 8 2# )
1%02#2 86 8678 29 292 78 29627829#776
1&027821((22  2,,25#2940252698 289225
1(02278 2(4
*020202020340205 2(14
102020202040205 21((14
02020202034020-9 4
02020202040205821((1)22  22 626  7+2
027 86)2 2  28 287 2 27#
!0278+ 7  92782 2402.9 62  22 72 9
                                                        OPPQRSSQTUVWXYZZ[\]
                                                        U^_`abcdef̀gaeh^Qiej'l1
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 54 of 92

  ;<=>?=@?AB<;C<DE                                             STUV?WXY?ZWZZ
  F<GHIBJIK?LJMKI?NO?DJBP?KQ?CRQQ<GK                                      wx
0102345623789
0 020202020 020 43288
0020202020 020282462732482823
0027 !28!2288327 2732432425
0"02 ##2827 8$7%324 24 5&#523 02'#
0(0242&242478248487)47 9
0*020202020 020+2 238
0,020202020 020-45 02.2847 5252%82//252//
000252 #834 #62&43#2 25828$7%22//22
1102# 32425284#624252%8
11027 !842//27 !84527 $$#27 273243
1 020202020 020+2%43
1020202020 020 #2432 222843 32%525
102%82283 2%2#7#224883288
1"020202020 020+2%#2345253
1(020202020 020 287!
1*020202020 02024 2+242 23 #62439
1,020202020 0208
10020202020 020+2!7 !2224242
 102020202034 2.45 +67028 0282 %62%52# 2%
 10242421/3 #2//28242 /7 28382&846
  0244562%72582#7 !24
 0202020202029-2288#72117(24  :
 0202020202029- 2288#72117"(24  :
 "020202020.8234 2.45 +67
                                                        [\\]^__]`abcdeffghi
                                                        ajklmnopqrlsmqtj]uqv8y81
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 55 of 92

  45678698:;54<5=>                                             LMNO8PQR8SPSS
  ?5@AB;CBD8ECFDB8GH8=C;I8DJ8<KJJ5@D                                      pq
0102020202034020567892       402 2  2 7627
002  27  2   7 92722 2 22 2 7 
0 022!7 2"#9272 2 272  2782 2!7 2"9
0$02  %02" 4
0&020202020 9282627 %02' 2 2 2
0(02! ) 402* 27  +62)2 7 282) 
0,02 92  2)7 28228- 2! 922
0"02!7 2"#92  %
0.020202020/4020*7 -2! !7 2)2 928 4
1#020202020340205678402/2  22!7 2"272" 2
1102  2 72 !7 92)2 282! 2 
102 7  2)7 92  %
1 020202020/40200 4
1$020202020340205678402/282 2  2 !7 9
1&02  %
1(020202020/40201 924
1,02020202034020*7 -272! 7 2   4
1"020202020/4020 24
1.02020202034020 -2  2   2 7 22 2 
#02 7 2  922 2 7 92 2 2 
102  92  %
020202020/4020*7 -2  4
 02020202034020/2 402/272 2   276 
$02  792  2  82)2  2 7 272  272)2 
&027  22 92) 2)2792242 327
                                                        TUUVWXXVYZ[\]^__`ab
                                                        ZcdefghijkelfjmcVnjo1r 1)
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 56 of 92

  12345365782192:;                                             IJKL5MNO5PMPP
  <2=>?8@?A5B@CA?5DE5:@8F5AG59HGG2=A                                      mm
01023445675829 42 485423 82 66566 2 923253 2
00275265 82854552 4457
0020202020020 823663 7
0020202020020 823663 702 823626737582 275
002 3 727526  47 2585 529 4275253 6
0023452752 75 727 2 262737252882
0!0293726 7275 2 4457
0"020202020020#37$62 4457
0%020202020020#37$627526 526  47 2585 52
1&02752 3 72 4457
11020202020020#372627
1020202020020 82737$62' 42 854673 8 23627 275
10275 4'2 924 65 7 
1020202020(2 2' 288 $728 272) 72' 2 854673 8
10237275275 4'2 924 65 7 2362 4457
1020202020020* 4457
1!020202020020+ 42 854673 8 23627372,42-.
1"023623458272 48542 275265 828545523 8
1%0275 265 8/854552 66566 2 923253 2)36582
&02 237 3'28  27526 7 2 4457
1020202020020* 4457
020202020020 827$62' 42 67 27372' 2 554
024555823 '2458)52585 52376 55428 4 
02752 4652 92' 42 56737 27 26 5672737
026 5) 8'2 754273 2035 7 2-. 2 7758275
                                                        QRRSTUUSVWXYZ[\\]^_
                                                        W`abcdefghbicgj`Skgl+05419
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 57 of 92

  6789:8;:<=76>7?@                                             NOPQ:RST:URUU
  A7BCD=EDF:GEHFD:IJ:?E=K:FL:>MLL7BF                                      rs
010234556789 2 5 6
00202020200205 26463278 5 6
0020202020020  22 36758273222222
0 0252738! 3655!22 36758
0"020202020020#$
0%020202020020&52!7!28562 7' 2(46252 7 ' !
0)02652 2 !7 2 '7! 8 2399 367892646285!
0*02564 26482+ 867852,7-582 5766 !264 234556789
0.02! 789264 278' 36796758 2 5 6
1/020202020020  22!7!26$ 22366  8620 5
11021 22 566
1020202020020,52528! 368!2(46264 2(5 !
102 !7 2 83
1 020202020020& 3 22!5
1"020202020020#$028!252! 6 78 !26462646
1%027805 67582(328562 !7 2 5 6
1)0202020200202(5!23252 2 5 6
1*020202020020#$0234632(46223$78925
1.020202020020222733 !26462(5 !
/02020202002034632078 
102020202002062(32258922762(322589
02 36758
02020202002034632(422 4 6789276 28!28
 0267 25 285623 25253626 2 
"020202020, 789264 2 5 3 25026473278' 36796758 25
                                                        VWWXYZZX[\]^_`aabcd
                                                        \efghijklmgnhloeXplq&+ 10
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 58 of 92

  345675879:43;4<=                                             KLMN7OPQ7RORR
  >4?@A:BAC7DBECA7FG7<B:H7CI7;JII4?C                                      op
01023432567289 94 92 7262949 932762925
002 89349268289492456874652974527 7
0025659267 9827 5295745624652 6727 69295
002020202002062892 6889 7
0 020202020!020532567 452 2 5932682453245 9
0"027 95
0#020202020020$6889 7
0%020202020!020532&7276292 98'245289 49 4527 9
0(024924527 42 927627 929795727 7262343'26
1)023432567299257 4527 7262343'29 95
1102453 987957'2762 92524556 9572527629
102 65 4 793'2 6889 7*
1020202020020+ 7,2 6889 7
1020202020!020-6239 474652862.86 9389'2 6889 7*
1 020202020020/2949 926'29'27 7,2 6889 7
1"020202020!020-6200256239 474652862682784545*
1#020202020020/2949 926
1%020202020!020-62489.89957746529 95
1(025457957465*
)020202020020/2 63256723627 7'256026289
102 6889 7
020202020!020162 95262262 63256723627 7'
0262952623432567200262343256722925
02489.89957746524527 42 9293265268
 029682627 42 922 922682256 93927 7
                                                        STTUVWWUXYZ[\]^^_`a
                                                        YbcdefghijdkeilbUmin981
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 59 of 92

  :;<=><?>@A;:B;CD                                             RSTU>VWX>YVYY
  E;FGHAIHJ>KILJH>MN>CIAO>JP>BQPP;FJ                                      vW
01023452678792 72 979776  462 62 632 7
0024997022 2 2 92 7 76
0020202020202 !7 4624249 02"452 3
0#02 6$79
0%020202020&'(2)&*(02"45+972,,2 +2 2-46.
0/02057 46
010202020202"222&*
03020202020402042+--2,,
05020202020202297 62 25
170202020202"222&*
110202020204020+--249762 2492345
102020202080206 3
10202020204020672427297 462$32345+97242597
1#02 23452 6+2 672 632 9797762 62 2 7
1%02 2 7 572345297 7 79234592  462 62 2 7
1/02 6 23452664$23452 6+2 42 24997
11020202020802094997
13020202020402086479297 462$323452664$23452 6+
1502 672 632 979776  462 62 2 72 2 7 57
7023452$7972 2 .-327  -2 77 872$42678792 7
102 979776  462 62 632 724997
0202020208020277-22$ 29732.44 2 2$ 22 
020202020402042 +2 2 79762057 4602& 
#0245- 2 72 627 3246724923450232057 462$ 
%020202020672427297 4623452664$23452 6+2 67
                                                        Z[[\]^^\_`abcdeefgh
                                                        `ijklmnopqkrlpsi\tpu"w791
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 60 of 92

  12345365782192:;                                             IJKL5MNO5PMPP
  <2=>?8@?A5B@CA?5DE5:@8F5AG59HGG2=A                                      mn
010234526789 9 8 4 3 7 482742 78238 2782 38 25 
0024 25 274 263 26789 9 8 4 3 7 48
00274 4 7 4352742345238 2 99  
0020202020020 99  
0020202020 020! 274 26789 9 8 4 234528 3 6 4 8
0"02#9 627 4 88 82 9288  82 99  
0$020202020020! 8
0%020202020 020! 2724 2#372 2 6 4 276 9 34
0&0276 36 4 2 '7 4 2 92 ( 3 952 '7 4 
1)02 99  
11020202020020*3 82 99  
1020202020 020+ 27425 929 9 82 99  
1020202020020 99  
1020202020 020+ 27425 92 66473 7 4827 2 
102,78 97 2 94 52 99  
1"020202020020 99  
1$020202020 020! 2724 26789 9 8 4 2 
1%027968 34 82 #23452 #2  274 9'7 825 
1&02 4 2 7  9274297 74-2 927425 9
)02 4' 983 7 4827 2  2,2 923 2 973
1020202020020 99  
020202020 020! 274 2 8 7#523 2 973
020202020020.2724 2 8 7#52//2.23824 23 2 
028 4 02.2 452 297 #28 3 6 4 8
020202020 02003502425 24 98 2 3 27#25 
                                                        QRRSTUUSVWXYZ[\\]^_
                                                        W`abcdefghbicgj`Skgl!o 91#
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 61 of 92

  45678698:;54<5=>                                             LMNO8PQR8SPSS
  ?5@AB;CBD8ECFDB8GH8=C;I8DJ8<KJJ5@D                                      pP
01023456247829 75 2 23 66 674 7 2 96262 76
0022 256  652 62 5262 6  2 4 7
002 2  824752 656
0020202020020 2462 6
0!020202020"020#682 524 2 4626
0$02% 7   742 & 2 2'2( ) 7
0*020202020020% 6
0+020202020"020752682 52 7  62 6 
0,023  7524 242566 62 6-
1.020202020020 6 2 
11020202020"0207528 25 527 762 2 62 7& 2 7
102 24 6
1020202020020/ 
1020202020"0200 26)43628 266246 2
1!025 367242  47 62 7 34 72428 
1$0266 652  324782 76 6 2 6-
1*02020202002024 246 286 
1+020202020"0200 26)4362 2626)672428 
1,0266 652  47 62 7 34 72  3242 76 2 7
.02426 76 626 628 2 9242 672 46367
1028 2 5234962 62 25 367242 7 34 7
02 6-
020202020020/ 
020202020"020162 2626)672428 222
!02348622226236262640224 24245236  7
                                                        TUUVWXXVYZ[\]^__`ab
                                                        ZcdefghijkelfjmcVnjoq61
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 62 of 92

  9:;<=;>=?@:9A:BC                                             QRST=UVW=XUXX
  D:EFG@HGI=JHKIG=LM=BH@N=IO=APOO:EI                                      uv
010202020203425672785795256 52 4 2 7772 9
002 5 957294  5492 42 25972 4 254
0025 92 2 557925 57795256 5265272 77 95
0025425672 7256 52 292 9 2 27 79524
002 549 25425672 557925 577952 4 24 
0 027 5 9 24 795256 524 75!
0"020202020#$%2$&''(02)*754925424 %02+4 2
0,02 97 %
0-0202020203./20132/''(02124 25 2 7%
130202020204+2#$%24$&'312(
110202020205%02006 5242 4 27 92 4 24 25 !0236 56
102 4 2*42 65!
10202020207%0201242 725 72 %
10202020205%020) %02)567 256 92 25 72 4 24 
1024 7952524 75!
1 0202020207%020124 24 7952452426 52567 254
1"0272 7%
1,0202020205%020792 4 27 5 9 26 72942 7 49254
1-027772 4 2 72 9 25 72924 795 54929
302562 72 72492 4 2 7724 75!
10202020207%02036 5624 75%
0202020205%020) 2492 4 274 24 75!
0202020207%02036 5624 75%
0202020205%020)62127 952542 2 4 2 921624 
02* 52 2728 75492 4 52 4 2975 549
                                                        YZZ[\]][^_`abcddefg
                                                        _hijklmnopjqkorh[sot+w7 1
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 63 of 92

  789:;9<;=>87?8@A                                             OPQR;STU;VSVV
  B8CDE>FEG;HFIGE;JK;@F>L;GM;?NMM8CG                                      sV
01023456785592 8 5
0020202020 02085
0020202020020 8722 87262 25 
0020202020 0208 228 52 
0!020202020020 725 2 4225 2 2 4"2382 
0#028 
0$020202020 020%&52 72 82"6'875802%22%2 4"2 8
0(02 25228 52) 6 2 2 65
0*020202020020+ 2'8 67"232 826 82 ,2 652'58
1020202020 020-22 287'2526785667927
1102 8258'4 6234567855252 )879285
1020202020020%525 4752"6.8223582 72 926
1025 4752"6.82 65252 825 2 ,2 4 258'4 62
10258'4 6272678566 7234567855
1!020202020 020/ 927 92622625 822" 726 8
1#0238, 82 02-25 72 20452 482, 2 6
1$025' "92726252" 825 822 2) 67
1(020202020020 87262 82 482, 2 6 25' "
1*020202020 020 921 022 &522 234856 702168
02 82258' 702&(#
1020202020020&(#
020202020 0201*(#02482 482, 2+25 8&5927
02%22%25 82 82345678552 28 7286 2 78
020202020020.02 72'72 422'72 42045268
!02 82272%2 7&278825)8'6,6'52 6 27 02%2 
                                                        WXXYZ[[Y\]^_àbbcde
                                                        ]fghijklmnhoimpfYqmrt8 1,
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 64 of 92

  :;<=><?>@A;:B;CD                                             RSTU>VWX>YVYY
  E;FGHAIHJ>KILJH>MN>CIAO>JP>BQPP;FJ                                      vw
010234526782978 2 3 82 28 2 232724
002  29 2  83 23 223 2 8 27283 27
0023233 234 42 2876 426782784 626879
0029 84 2  4 3 74268792  24 38 2 87
0!02  22 872  22 8727822 872 
0"02 # 2$2 384%
0&020202020'7292723 83 2 8 272935 %
0(020202020)*+2*,--.02/  72 726789+0207293
010234 8+
1$0202020202'324 253--.02 23 272  3+
11020202020602)*+26*,-2 5.
10202020207+0204 27294 23 232 3#28 84+
1020202020+02047  2723 2 3#28 84+
10202020207+020/53+02832724 2387# 93 %02434
1!02 22 8 272935 2328 283232 38%02!$%
1"02$$%
1&020202020+020 23 272  3+
1(0202020207+020/53+024 2 42 24 2 24  44%
11020202020+0200 42 2 4+
$0202020207+02043 2 272935 268792 2 34 2 38%
1020202020+020)2472 428 2  24  4428 
0272327923 2 723452 9+
0202020207+0208 272 23 267823  %
020202020+020572 23927 2 23 +
!0202020207+0204 2 2724 72 23 2678
                                                        Z[[\]^^\_`abcdeefgh
                                                        `ijklmnopqkrlpsi\tpu0x 816
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 65 of 92

  6789:8;:<=76>7?@                                             NOPQ:RST:URUU
  A7BCD=EDF:GEHFD:IJ:?E=K:FL:>MLL7BF                                      rs
010234567892 689 9  8
00202020203020 282921267822112678
00202 429562 6 86602 2929562642 2646
0 029562 6 86602!5628 688258266 2"6 2428
0#0258266 27 2 9
0$020202020%020&676226 2''2(2956762''2(8
0)029567622"67 2*29 462(56 22(67626 2" 
0+028462*29562"7* 9
0,0202020203020-52876
1.020202020%020-023 22''22''22 925 6
1102 925 2929225 62688292""67(7
1029592(296225(24524 62246
10202020203020/682 2
1 020202020%020327 59023 2 2( 9292089282
1#022"62*21689  82927288698
1$020202020222( 2 2762"7"679
1)0202020203020/682 2
1+020202020%0203(24 25468222( 
1,0202020203020!5766
.020202020%020327 59023 2(8272''27
102"7 472768 6 62 82 24**
0202020203020!59827769
020202020%020&592 829562""7 4962 62*27
 02546
#0202020203020 2(28292#'2725$.....
                                                        VWWXYZZX[\]^_`aabcd
                                                        \efghijklmgnhloeXplq/t671*
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 66 of 92

  567897:9;<65=6>?                                             MNOP9QRS9TQTT
  @6ABC<DCE9FDGEC9HI9>D<J9EK9=LKK6AE                                      qr
010202020203402056784029 2  272 7 22 
00202020204020 2  2 4
002020202034020 7 2 2 2 7 
00202020204020 7 2 2 
002020202034020 2 2 2 2 ! 22 
0"020202020402092 7# 22$ 74
0%020202020340205678402 7 2 2  2$282
0&020202020402092272''  82'22(7 2) 7 4
0*02020202034020 7 + 2 27'',7 2#7  2!2 7 
1-0202020204020.78/ 20-----4
11020202020340205678402$2 7 + 282 $2''  8
102020202040201222  # 23 2627$
102 7 + 27/ 201%---4
102020202034020 2  2  7 2''   22#77 
102''   
1"02020202040203282 2 2 2' 7 2
1%022  # 27$292 2 2' 7 2'22(7 4
1&0202020203402082 27 22 , 2!20----
1*02020202040203 2 7 29+277 2!24
-02020202034020$282  # 272'  
10202020204020 292$4
02020202034020$2$2827 2 7# 272442 7 + 28
02  2 7 78
020202020402092/  # 2 + 27/ 2"---278/
020%----27 2 2 ' 40292 $+ 2 784
                                                        UVVWXYYWZ[\]^_``abc
                                                        [defghijklfmgkndWokps 1!
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 67 of 92

  345675879:43;4<=                                             KLMN7OPQ7RORR
  >4?@A:BAC7DBECA7FG7<B:H7CI7;JII4?C                                      oo
01020202020340205678296 26 2  2 9 692 262 6
0029262 62 2 9 692  26  26  9
002 2 2 29 826  2!  922 9
0"029 82 2!   2#9 82!   2$ 8
0%022 262 62926296 26 2 69 29
0&02 9 69826'
0(020202020)4020* 4
0+02020202034020)29622 2 2 62 92  29
0,0229 2 262 27 2  4
1-020202020)4020.4
110202020203402092  2 '
1020202020)4020/ 2762 2 4
102020202034020*62 62 0 1 826 26 2  2 9
1"02!   22222 221662 2 '
1%02#9 '
1&020202020)4020/ 92 262222916 264
1(02020202034020)2 40222222 226 2 276
1+02 4
1,020202020. 26 2  2 92  2!   2#9 
-02 629292  2 2 9 662  2 21,,1
102  2 222 96 26  62922  
02 62 16 22 96 2 22 6726  2 
02 26 9  4
"020202020!6262 27 2  '
%020202020)4020264
                                                        STTUVWWUXYZ[\]^^_`a
                                                        YbcdefghijdkeilbUminp$ 1
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 68 of 92

  234564768932:3;<                                             JKLM6NOP6QNQQ
  =3>?@9A@B6CADB@6EF6;A9G6BH6:IHH3>B                                      no
0102020202034020567289 82 6 82289 822 897 64
002020202072822 282 289 82 726
0022228 6628 722 22
002282 26 267 8 676229 2788 
0!02" 8262892# $27" 8#68 2%2& 2'%
0(02)82 672892"  *
0+02020202054020)84
0,020202020340205672267 8722- #"289 8
0.02892 2 2 262"6289 82 ""282 
1/02"27" 8#68 28*
1102020202054020)84
102020202034020022 28 %72 82 2 2289#
102  740202- #"262 2%2 6289
102"27" 8#682267 87229 72 6
1!02  82 862827#682 62"868 2
1(02 62"868 2-" 822#" 9#682 76
1+028*
1,02020202054020)84
1.0202020203402012 2788 2 86
/028*
102020202054020)84
0202020203402056892 2 2 862 289
02 86282"82 62# 678289 82
02  2#2 2 228*
!02020202054020)84
                                                        RSSTUVVTWXYZ[\]]^_`
                                                        XabcdefghicjdhkaTlhm'11
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 69 of 92

  9:;<=;>=?@:9A:BC                                             QRST=UVW=XUXX
  D:EFG@HGI=JHKIG=LM=BH@N=IO=APOO:EI                                      uV
01020202020345246778029 2 2 2 2 
002020202034524678029 5
0020202020234524678
002020202050202  2  !2" #2#  2 2$
0%02" #2 &  '2 $ ( #(2&"2 2 2 $( 2$2" #
0)02*  (2 2" #2 $2 2 * 2$!2 2 2 
0+02,# "2  $ # 2'$  $ 2 2$2" #2( $
0-022..2 2$2" #2( $22 $ ( #(2" # 5
0/020202020050201 (5
120202020205020 !2 2 22$3 2 24($'
11023 (($ 2  2 2# 2$ 2 22$2 !2 2$
102 ( ($ !2' 2 * 2 2 $( 23 3$32$
102 $ ( #(2# $32$ 2$ 2(  5
1020202020050202 526 502 #52 '2 2 62
1%024($'23 (($ 5
1)02020202050204$2" #2' 2 * 2 2 $( 23 3$3
1+02$2 $ ( #(2# $32" # 2(  
1-02020202005020 5
1/0202020205020 !24($'23 (($ 2 2,#$
202( $2$2# !2 22 2# 2 !2 27 *!
1022$2 2 #$*2 (( $  2 &  '2* $(
02 $( 2 "2$ 2  2 2 # *( 2$2 " 2 
02262 27( $'!2 2..2 28# $$2#
022($ (#  ( !2 22 $2 2 * 2$5
%020202020022 2# 2 2 2 2#2 2 5
                                                        YZZ[\]][^_`abcddefg
                                                        _hijklmnopjqkorh[sotv 1
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 70 of 92

  :;<=><?>@A;:B;CD                                             RSTU>VWX>YVYY
  E;FGHAIHJ>KILJH>MN>CIAO>JP>BQPP;FJ                                      vw
01023455467829 99 2 422  27 27724 27 63 
002020202042582  462 428429202 284
002742 962849239 924 9 24 3 926
002 2 2 247 2 2346 9 2 !3  2 493 "
0#02$624  9249 2 493 2  2264 2%   26 9
0&02  23935 63 "
0'020202020()2)*02+% 3 462 42 495254 782 3
0,02$2 4264 29 2 28492393 9- 4624 2 
0.02  5468
1/0202020200 2  24% 3 462462  29 349 284258
11026 9
102020202012320$14302$2 2$2  65 2 2 2  28
102$2  65 2346 9258 7 262 429 649 245 46
10262 !3  2 493 02$2782 4 2  2  8
1#02 9 269 8244 299  
1&02020202045 282 9 227 7 2 2 946 926
1'02  92 24 2 493 7245 282 9 227 7 2 8 9
1,0262  92 24 2 493 72 2$2  65 2 268 6
1.02  2394 2  276 
/020202020()29)*1$402+880242% 246 2 246
102 62226 2$2 2$229 56 24 2 
028  9 826 2$2 26 2$2 2$236 2 2$2
02 46
020202020$2 494 2  2  297 2 236 26 2 
#02  2467824% 3 462 59 2774 2 4258 2 9 29
                                                        Z[[\]^^\_`abcdeefgh
                                                        `ijklmnopqkrlpsi\tpuxy 91
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 71 of 92

  789:;9<;=>87?8@A                                             OPQR;STU;VSVV
  B8CDE>FEG;HFIGE;JK;@F>L;GM;?NMM8CG                                      sS
010234567893 2832 3 02232 6798629 23
002325 82623 234567893 2832 3 
0020202020202 6232 9 !22 "3 #826
0$02 69 !234567893 %
0&0202020202'()02*6 
0+020202020202 28"82"823# 62 9 !%
0,0202020202'()02*6 
0-020202020202292628"6234567893 2
0.026/2 29 2323 #829628"6/2327 23
1002"8616 232 8
110202020202'()028# 2 3828"8223 #8296
1028"6028# 25 828"823# 6219389 !28"62 6 /
102 28"8# 2"82#239 89 !2382832302("62 6
1$02 222
1&02020202020236/22 28 9 !2832649 283
1+0232"22 23456789 !28328"62 3 
1,0202020202'()0223 #82 6623 264 893 
1-020202020202 2323 #82 828"8222
1.0202020202'()02)3
0020202020202222 9 6
10202020202'()02*6 /26 623 #8232982 3 26
02(" 23
020202020'*22'()
$0202020205020 2 9!"8023228"9 232 6 62
&0266 893 /24822 8283262  6
                                                        WXXYZ[[Y\]^_àbbcde
                                                        ]fghijklmnhoimpfYqmr*t6 1
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 72 of 92

  45678698:;54<5=>                                             LMNO8PQR8SPSS
  ?5@AB;CBD8ECFDB8GH8=C;I8DJ8<KJJ5@D                                      pq
0102020202034020526764
0802020202094020 7 2 222 2 2 2
002 
0020202020340205 22 2 72 !  
0"02020202094020#4
0$02020202034020"4
0%0202020209402032 7402 7 2 2"2 27 2
0&02 2 72 !  2'7 7 27 21(%1)2
0(02 * 2' *62 27 2 7 2+7*2 )
1,02 
1102020202034020-.2 4
18020202020940203 62'22)2 2 2 7 62
1022+7*2 2 4
102020202034020/ 4
1"020202020940205 2 2 6)2 2 6 62
1$02+7*2 2 2 7 2 2 2.2 
1%020 7762 6 227   4
1&02020202034020/ 4
1(020202020940201)2 2+!)2 2 * 22
8,0267*2 2 27 2!2 2 7222 722
8102 !2 2  2 2 26 4
88020202020340204)2 2 77 2 22 
802 24
8020202020940203)22 62'26 4
8"020202020340203)2 )2527 222 27 
                                                        TUUVWXXVYZ[\]^__`ab
                                                        ZcdefghijkelfjmcVnjo#r 1
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 73 of 92

  ;<=>?=@?AB<;C<DE                                             STUV?WXY?ZWZZ
  F<GHIBJIK?LJMKI?NO?DJBP?KQ?CRQQ<GK                                      wZ
0102342355678902 2 4 828428626562 664 4
0028676679
00202020209020258902 42 8652376224234
0023762 24665273234! 278562 5282327 7"68
0#028382374 82$ 786 2" 57 34828 2 52853449
0%0202020209020& 55689
0'0202020209020(63 762 2  236256" 586 28
0)0258*
0+0202020209020 22838272 55689
1,0202020209020(63 762 5627 2342683
1102 47648 72 686869
10202020209020 232 2 686869
10202020209020-628656 7228656 722838 72
102838 7232 656482 5 28342 2 76 902.62 5 72
1#02 76234 2 234828 23627 562 2356628286
1%023562683234 2 47648 79
1'020202020/ 2 235662828 762 5 7*
1)020202020019212334025!$68 428 2 59026 23
1+02347659
,020202020.782- .9833402 2 9
1020202020(620192(123. 94
02020202090202589023 2 24665273234 462 76
026:67762 562 542 52,22,22,2 52 56
0263572 42862 569
#020202020019212334025!$68 428 2 59026 23
                                                        [\\]^__]`abcdeffghi
                                                        ajklmnopqrlsmqtj]uqv6x651
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 74 of 92

  <=>?@>A@BC=<D=EF                                             TUVW@XYZ@[X[[
  G=HIJCKJL@MKNLJ@OP@EKCQ@LR@DSRR=HL                                      xy
01023456789
0 020202020 2  029
0020202020292 
00202020209020 7242 887 !"42!2!3!2#$75!"42"5
002!724$%&782'27385242!72'8 79
0(020202020)9020 3!*52 887 !9
0+0202020209202,&-7 !"42!2'8%902$2%3
0.023456789
0/020202020292 
100202020209020)4!782!"412!3!227!7 !"372357 "3
1102!42$52!3!272&57837424$8"412"52 387785
1 02"4 $4"412"42!72*/0552678726626787247!7 !"3752344
1027" 72''" 7852$5"41283 "325$852"872!722684
1026"!26"!475575234425$577 !59
10202020209"85!2'2352$26$42318772!3!2$5"4123
1(0283 "325$826"!2326"!4755282325$577 !2"523
1+02578"$523"3!"42'27" 2344278 74$8752 887 !:
1.0202020209202,&-7 !"42!2'8%902$2%3
1/023456789
 0020202020 2  02;887 !9
 1020202020292 
  0202020209020)28"1!902)442"52"!2$826623442"'
 02$2&5783742342''" 782$5"412!572684526"!23
 026"!4755282325$577 !52$23423423&5$!7
 02&"13!"42!28778!2"!9
                                                        \]]^_``^abcdefgghij
                                                        bklmnopqrsmtnruk^vrwz781'
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 75 of 92

  345675879:43;4<=                                             KLMN7OPQ7RORR
  >4?@A:BAC7DBECA7FG7<B:H7CI7;JII4?C                                      op
010202020203402056728296 2 282994
00202020204020 22 22626 6 26
00262 92692 926 292 69226
00292 26   6 2 626 2 26 6 26
0!0262 926972"2"69 2622 6
0#026 2 $
0%02020202034020&6 2' 2 6 22 72 
0(02 26 6 40256"26 2' 2 6 26)6 
0*02 2 252"694
1+0202020204020&4
1102020202034020,22 )2  28292 72
102"292 22 '262 622 '2 4
10202020204020-72  2..
10202020203402082..282992 6 2962 26282992 6
1!026 2 262 2" 262962 2  2..
1#02  282"6'92" 40282..282"69 2"6'2" 2 
1%02  28299 226)6  2" 4
1(0202020204020/2 6 40206282  '26 
1*02 "92)21 6 72  282" 2 62)'24
+0202020203402082994
10202020204020&6 2 72 2..2 2..2 21*%12
0262" 262 )2262672" 26
02"692 2 222..2  2222 22..
022  262 2"2 2" 26262
!02 252"6926 2 226 4
                                                        STTUVWWUXYZ[\]^^_`a
                                                        YbcdefghijdkeilbUmin&q1
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 76 of 92

  /0123143560/7089                                             GHIJ3KLM3NKNN
  :0;<=6>=?3@>A?=3BC38>6D3?E37FEE0;?                                      kl
010202020203402056789 2  84
00202020204020 7 22 2672 2 267
002  8284
002020202034020  84
002020202040203 2 2  2 727 2   2 !7!2""
0#027 28 82 !7!2 27 2$  82  !27
0%02 $ 72  8!78 2  8&
0'0202020203402056789 2  84
0(0202020204020) 2  2 727 * 2 2  
1+02$7   2  !27 2 8 !78 &
1102020202034020  84
10202020204020) 2  2 727 * 2  !27 
102$  2 !! 8 2  !27 2 8 78
102  &
102020202034020  84
1#0202020204020) 2  2 727 * 2$    8
1%02  $78 2862  2 $2728  2 27
1'02  82 28 2862,34
1(02020202034020  84
+0202020204020 7 22 2672 2 267
102  8284
02020202034020) 27 2  84
0202020204020- 27 28 2 72""27 2 928 2 27
02882*827* 8286 2*82.27 828 2! 27288
02*82 86 4
                                                        OPPQRSSQTUVWXYZZ[\]
                                                        U^_`abcdef̀gaeh^Qiej)m 1
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 77 of 92

  /0123143560/7089                                             GHIJ3KLM3NKNN
  :0;<=6>=?3@>A?=3BC38>6D3?E37FEE0;?                                      kl
0102020202034567829 89 24 25292 452  8
002 45 8 24282929 85 29 285 45
002 887824 8
002020202002038
0 020202020!02034529 "9 2988 242828#8
0$02 99 825 8 282 5982424 4"2524
0%029 2 89 292 452 8878 
0&02020202002038
0'020202020!02034529 "9 2 4588 29 2 8 879
1(0287 882"88 228 8 24 25 2 45 284 24
11028298
1020202020020)9624 8
1020202020!020 2 282"9 2"82*29 284 24
10282982 452+4"2"9292892 
1 020202020020382*2 4
1$020202020!020292 887828 9 2 21''1
1%02 452,,2 452,,229 278942 452"45
1&02 878 4284 82,,2428 9825284 82,,
1'0292424"29 2" 29 2"4248 292 8
(024 8
102020202002038
020202020!020 2 452"45 24 4"2524248
0284 8
02020202002038
 020202020!020-48828 2"45 2 4782 .
                                                        OPPQRSSQTUVWXYZZ[\]
                                                        U^_`abcdef̀gaeh^Qiej3m8 1
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 78 of 92

  12345365782192:;                                             IJKL5MNO5PMPP
  <2=>?8@?A5B@CA?5DE5:@8F5AG59HGG2=A                                      mm
01023456785632796 2 4 2462 4
0020202020020467
0020202020020 72 22 2442676786293
0027964863242796236 2897!
0"020202020020#63 238
0$02020202002028287842742797 2 4 2 662 34
0%025678 4 32827962363627972 4 2 6626 274
0&024 4 2 2427962 63226 784322 24
0'0279627882424 78286788784
1(0246 632 8)6294742 3 2467!
11020202020020#63
1020202020020*4282  4 2+27)6287 2 8)625437
1024 86225,424 862675673 2 4 22796
10286788784246 6327972 4 27 8
1"024 762 66268796294742 3242 862 86 3
1$020202020020467
1%020202020020-9662 662345626 2  3 
1&028 537632 962 4 24 2394 223 3672
1'0246422246446286 8 2467!
(020202020020467
1020202020020.8)62 8798258 7632423643242796
02856
020202020020467
020202020020/796 836 2 4 2 637442872 3
"023787 249808762452394 823 36732742
                                                        QRRSTUUSVWXYZ[\\]^_
                                                        W`abcdefghbicgj`Skgl#n61
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 79 of 92

  234564768932:3;<                                             JKLM6NOP6QNQQ
  =3>?@9A@B6CADB@6EF6;A9G6BH6:IHH3>B                                      nO
01023456788246296 2 2 57 259625 292847 8 6
002 5 29 9 2 292847 8 624672 75
00202020200207257 7239829627754 62962395
002 27962! 259524824 28 7 672464957259528 7 67
0"02398257 7027246#52$6 325952476545 2!5237
0%02!747&724525 2!7292874 427 8 602'95245
0(025 62 525 2!7292345678802) 52929 544965246257
0*02 472!5292345678828 7 6725952398257 7
0+020202020 2372$67323 259527 8 62398257 7237 7
1,02 984 68237623723 28 329284672 5 296
110289 2- 8254825727 8 625952 # 72 7 7 4625 -
1020202020.0202 45
1020202020020'95239829234567882 2398257 7
1020202020.020 267 8596
1"020202020020'95#82572 6 2 798 623723 27&7
1%028 329284672 5 
1(020202020.020) 2 29 74957259529 4 4954 6
1*020202020/ 2462 57 23 82 23 267&7 28 329
1+0284672 5 25 29234567882 292 57654928875
,02 75
10202020200200 75
020202020.020'72 6 25472 245267 24457
024 85967828 329284672 5  925 29
02345678824824 2572 5 23982 28 7 6723 23982185
"02 787652!5257 7239826 287854 6257 237 7
                                                        RSSTUVVTWXYZ[\]]^_`
                                                        XabcdefghicjdhkaTlhmop7 1
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 80 of 92

  234564768932:3;<                                             JKLM6NOP6QNQQ
  =3>?@9A@B6CADB@6EF6;A9G6BH6:IHH3>B                                      no
010234567589
0 020202020 020 68 02426826928228
002679239843282622826792624926776
002249234853822864
0 020202020! 020 7723 02"22#26226$8
0%0278262679248582622626792262
0&02826472382626792858262282624
0'0234823283826223(8642262
0)023(86427348
1*020202020 020 68 02+68382268382
110234,28273482882682423( 02$234
1 026288#8 02+68382234,2827348288
102682423( 02$23426288#8
1020202020! 020"223432623(
1 020202020 020-3432623(28
1%020202020! 020.628(8364262278268/
1&020202020 020.648
1'020202020! 020 49262762498669226
1)028(7826288246283892626539828
 *0234824283642#8682934262824
 102398433364268982#626282679
  023,
 020202020 0200628268
 020202020! 020426826926267924858226
  026234,2828232#868282126898
                                                        RSSTUVVTWXYZ[\]]^_`
                                                        XabcdefghicjdhkaTlhm0p81
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 81 of 92

  234564768932:3;<                                             JKLM6NOP6QNQQ
  =3>?@9A@B6CADB@6EF6;A9G6BH6:IHH3>B                                      ON
0102020202034020567789 4
0 020202020 40203 26262 8872 82289
002 872 28 9 6 276987822 822 8
002876 2629822 82876 282  22 4
0 02020202034020567789 4
0!020202020 4020"72  2#82826 87288 98
0$02%%8  %2  2 2876 22 4
0&020202020'8 267827% (
0)02020202034020*26 + 2,,2*26 + 22   %
1-0282  2 64
11020202020 4020.6262 8872 2 6262   %2 6
1 02 78 % 8 22876 +2789689 6 2/76872 
102%%8 6 2967789 (
102020202034020567789 4
1 020202020 40203 2 682 262  8/8 262,,
1!0262,,2 76%2672 7  %262 87  2 
1$02 682 262  8/8 26262  2967789 (
1&0202020203402008264
1)020202020 40200 +2262 88722 2967789 (
 -02020202034020*22 6 4
 1020202020 40203 2  +2262 87 662 8278
  02 278% 6 2761 82 2%%8 6 28
 02  4
 02020202034020567789 4
  020202020 40203 262 87 662  2 2%%8 6
                                                        RSSTUVVTWXYZ[\]]^_`
                                                        XabcdefghicjdhkaTlhm.n871
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 82 of 92

  :;<=><?>@A;:B;CD                                             RSTU>VWX>YVYY
  E;FGHAIHJ>KILJH>MN>CIAO>JP>BQPP;FJ                                      Wv
01023425267389 2 9 4 92 7824 25 39 258
00279837 7537482 49 925 424398375274539
00239248 373374852 73 24 2582  93239
00279837 79
00202020202 !!"02# $937482342 4 %02&42%5
0'0258 69 
0(020202020)*+2,-).+!!"02&425 924 9329 
0/0202020200&220 !)-."
010202020202020)533 2624269 98332546923424
140273
1102020202050204 93
10202020202020.462-2%9837489295 79 239239 %
10296534 29798902&43925 4295 2353
102 9 9 927824 25 99 23427725 20 52%539 75
1024 938
1'0202020205020&425 924 93
1(02020202020205824289 34420 52%539 75234
1/02%9582582979892353265 24398375296534 
11023532423982342 492788498924 938
40202020205020583782582502&425 924 93
10202020202020#95025827325 42789 27%95%983
029798902-82439 264  2979892353242 9
02 9234259892392 975 77324 2 97 77324
025267389 
02020202050204 93
                                                        Z[[\]^^\_`abcdeefgh
                                                        `ijklmnopqkrlpsi\tpu&w9 1
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 83 of 92

  @ABCDBEDFGA@HAIJ                                             XYZ[D\]^D_\__
  KALMNGONPDQORPNDSTDIOGUDPVDHWVVALP                                      ]_
0102020202034020567289 8 2 227 228
002682862822 6 2 2727 
002 8   27  92   2 2 22 62 28
0!02 762 62 2 8 2 22 
0"026402#22 22 $%22 62 2
0&02786%267262222'52 82 28 4
0(020202020 222 2 ) 86*
0+020202020,-42-.//002192 862828 40238 2 
04026 4
15020202020,-426789:002;8 4
11020202020#<82=#98//002227$67 2862
102 6    864
1020202020632,-426-./#90
1!0202020203402052 4
1"020202020540206 2 8   2278 2$$62 4
1&0202020203402052 402292 82 $  
1(0264
1+02020202054020> 4
14020202020340202 40238 2 67 887282? $
5022 227 2 6228  72 6    862
102 764
02020202038 2 67 8872 2 2 62 82 $8628
028822822  2672  86 26728 
!02 6 628628  72 6    86 2 62
"02$6  222828  7 22 2
                                                        `aabcddbefghijkklmn
                                                        fopqrstuvwqxrvyobzv{3|1
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 84 of 92

  :;<=><?>@A;:B;CD                                             RSTU>VWX>YVYY
  E;FGHAIHJ>KILJH>MN>CIAO>JP>BQPP;FJ                                      Wv
0102345678
09020202020 8020 738
0 020202020 80204224722472533554247
0023374252472252472438
0020202020 8020 748
0!020202020 8020"253252#775254472$2734
0%024542$25252&#542424567252&527'2
0(02'542#423444725$254758
0)020202020*2472'322$2525$2&422$
1+0225&42'747252772277722&7
11025$254752$2'2'47242'252567
1902372472, 2#424274772454274-
1 020202020./82/0""1022&374242802 25$
10253'78
102020202045627*486""102 748
1!020202020 2./82/0"4*81
1%020202020 8020 273422795724542$
1(023&2'5323$24274242524242724
1)02472773725'$723247$25256725274772
9+02'45'8
91020202020 273424542$23&2'5323$24
9902742474525$2547525242427
9 024247237423247$2274772'747
902242425242&723372424727737
9025447$274-
                                                        Z[[\]^^\_`abcdeefgh
                                                        `ijklmnopqkrlpsi\tpuw71
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 85 of 92

  /0123143560/7089                                             GHIJ3KLM3NKNN
  :0;<=6>=?3@>A?=3BC38>6D3?E37FEE0;?                                      Lk
0102020202034020567289 2 699 4
0 020202020402032  282 8 267267229 26
002826727 9 662 8 26672  2  282 6
0026 7  282 9 2 628 279 2 8 2 
0!028 798 22 62 8" 9 692 2 699 #
0$02020202034020%699 4
0&02020202040203221''12672828 2 6
0(02 8" 9 69 9226728 2  2 699 #
0'02020202034020%699 4
1)0202020204020567282  28 2 62 8" 9 6928
1102  2692827" 2 699 #
1 02020202034020%699 4
102020202040203228 26727 9 662 8 267
10282  28 2 62799 "  672 9 
1!02 8" 9 69282  2692827" 226728 
1$02 64
1&020202020340205 4
1(0202020204020326722 8 2962  2 62  
1'02 699 #
 )02020202034020*62+226 4
 10202020204020,26 #
  02020202034020+29  26226 2828 2 
 02" 962 62 4
 0202020204020329- 402.6226  92692 "
 !02  28 2 8 267282  2267282267
                                                        OPPQRSSQTUVWXYZZ[\]
                                                        U^_`abcdef̀gaeh^Qiej5l 91
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 86 of 92

  /0123143560/7089                                             GHIJ3KLM3NKNN
  :0;<=6>=?3@>A?=3BC38>6D3?E37FEE0;?                                      Lk
01023456789 2 7 2733426234626745435 45
002355436
002020202002055436
00202020200209 2 754526745435 4528926 4
002 838 42986
0 02020202002055436
0!020202020020"62#72 523 83426 762 486426 4
0$02%73626 7626745435 452#45426 42624%%4368&4
0'024792%22%2 3496892# 762#727367 278
1(02) 2 279 26 42#869422862#72 5254%45493426
110242 52964
1020202020020"62#72 254%45493426242 2964
1020202020020 258 6029 2# 2#726 76
1020202020020"62#72 254%454934
1020202020020* 2+4689282# 
1 020202020020"2 9,629#
1!020202020020-7 029 22"267428626 7628&49
1$026 762 2 7 273342626745435 45279 23 4296
1'0262426 42 262 7&42)4492+864239%8 496289
(02 527)8 86 2626742 2964
1020202020020.4
020202020020"926 452#5 2 2#454239%8 4962)
021''126 762# 492 2#4542 89272#8694289645&84#
02486 452 58926 4289645&84#252927%6452 2#454
027) 4262#58642 #9279 254 4&796289%5768926 76
                                                        OPPQRSSQTUVWXYZZ[\]
                                                        U^_`abcdef̀gaeh^Qiej.l451%
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 87 of 92

  ;<=>?=@?AB<;C<DE                                             STUV?WXY?ZWZZ
  F<GHIBJIK?LJMKI?NO?DJBP?KQ?CRQQ<GK                                      Xw
010234562789 5 239269 298853
002020202002052 8
00202020200202 523432925 29243
0 0269  525!4  35 239 623452"32343269 24 5
0#02$ 3522%99 25986
0&020202020'(2()**+02,-53 92392"98029 26
0.0258
0/02020202001223042**+0225 5 5224 522%99
05025986
1602020202072'(27()*04+
11020202020020*929529"234528592343269 2 293
10237588598 2 2343269 258529" 532 269 8
102  362392%53262855 32 "983 92 269 8
1 029352 2345293922857983298853
1#02020202002052 8
1&020202020020 262  583 %288269 29885325
1.02 "2289%28822392492882" 8329"2269 2 5
1/0225""983223952 32 952249  52 5353 5
150239238"5823452 "983 92 269 82935239
60285798324534582 32522:.298228 335
10233553228822992 23 52279 52"358
0234525 532" 823926
0202020200205
 020202020020"269 29  2 92 32 34 2  35
#0269  2386239298853
                                                        [\\]^__]`abcdeffghi
                                                        ajklmnopqrlsmqtj]uqvx581"
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 88 of 92

  567897:9;<65=6>?                                             MNOP9QRS9TQTT
  @6ABC<DCE9FDGEC9HI9>D<J9EK9=LKK6AE                                      Rq
0102020202034020526789 2 2 74
002020202040203 2 28    272 2 727
002 7226 2   2289722112
002  2 7826789 2 2 8927  2 2 2 78
0!026789 2  2 2 72""2 782 9924
0#020202020$762  2 267 %
0&020202020340205' 2 27  2 2 2526789
0(02 6  22 7 2722)"1*402+ '2 2 9976
002972 2  2 7827 222 27 
1*02,8 402+2992 2-  2 2   2  '
1102-"."/"3"+"5"0 2  12 2 72  2  4
1020202020+ 2   7272 26 25'2 9
102178 26789 2721402526789 2  2 29772
102 27  22  27 2 2 2  272 27 4
1!02020202040202 4023729 2228 25
1#028    4
1&020202020372 99 26 26789 2 2 7826789
1(027 8 226 2  464025 '2278
1026 4 2 2 4
*0202020203  2 2  46'2798  2 78
1026789 2""2 7826789 2""2 7826789 2""2 7826789
026  2""2 7826789 2 2 78 27 2 2 7826789
026  22 6  2 7 2726 2 7826 2 79 4
0202020203402007  4
!02020202040203 2 2  2  2  2 7826789
                                                        UVVWXYYWZ[\]^_``abc
                                                        [defghijklfmgkndWokp.r 1
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 89 of 92

  12345365782192:;                                             IJKL5MNO5PMPP
  <2=>?8@?A5B@CA?5DE5:@8F5AG59HGG2=A                                      NN
0102345526782992 7462 4 2 6234558 0278299
002020202002046 326 
002020202002046 326 2 8 3824 22 5
0 02 84!29922 5 284 22862 62992 6
0"0267827824 26782 5 2682 62
0#020202020020$8 
0%020202020020 267462 5 2&8245 62  64648 
0'020202020020(8552 62 5 2 86 8 2&8242 4
0)025468
1*020202020020+622436 382 ,2 &582 5
1102&8262 2 62 8 46852383602(782 6- 2,8 7
102 22  
1020202020020. 4552 62 4 262 82 8 4685
1 020202020020(5 22992 8552 7 372462 4 -6
1"02 82 8 468502(5 22992/264!82 626782,  6
1#0267 22 5 2 46262 2 ,2235 2
1%0264 ,82268 26242  66828623836
1'0202020200207462 4 2 828 
1)020202020020$2 46262 2674624 20 3!524 2
*02342 22 -62,86
1020202020020$8 
020202020020 26782/267 !2-826855 2826746
022422426284 299284 2 62 62678278
 02,242 422 
"020202020020/62 762&828 7627 02/62 762&824
                                                        QRRSTUUSVWXYZ[\\]^_
                                                        W`abcdefghbicgj`Skgl$m81,
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 90 of 92

  12345365782192:;                                             IJKL5MNO5PMPP
  <2=>?8@?A5B@CA?5DE5:@8F5AG59HGG2=A                                      Nm
010234556768929 72 523 9
0020202020 020
0020202020 02049262  82 72 694 82 5296
0023
0020202020 020 022 3296249248296268946
0!02 92 2 323 24"2 2 32 922  2 5296
0#02 7499682"99668924829625462" 28  3 2  2866363
0$029 2"662492 32"66249%2 7769&
0'020202020 020( 7769
1)020202020 020832 682 27632962"9966892489
1102962 86%2 2 8259672992 8942 2 92962**
1029629 63276 792&
1020202020 02092 3262 8296286+92 "486""23 2 7
1029623 25967299
1020202020 020, 92 02- 2 92 3262764632 8248
1!029624896742 3262962**2962  2 5296
1#0283 7499682 794 8
1$020202020 020.9/"2 7769
1'020202020 0200 2962  %234329 "6283 7499682**
)02832**2832 2962  %22**22948228 294"
1020202020. "6283 7499682 794 8"2"9 2482962546
024826769 49 2"2 6%2 7769&
020202020 020.6 2" 23 %2 6"
020202020 0202749 02- 2962**2 9/"248296
025462 49482**29 4 2 4948248 96"2 52
                                                        QRRSTUUSVWXYZ[\\]^_
                                                        W`abcdefghbicgj`Skglno6715
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 91 of 92

  45678698:;54<5=>                                             LMNO8PQR8SPSS
  ?5@AB;CBD8ECFDB8GH8=C;I8DJ8<KJJ5@D                                      pP
01023456788246579 47324825 52 6 394557629546
00202020200208 2 579237972 672345 25 7
00246579 4732925 7285 57765
002020202002052927 725 72547262 23456788
0 0285 5776523 76245285 9582 6 23 76245276 825 5
0!02 7865246" 725 7254723 762259 687925 7
0#0265782525 7285 577652 78245$
0%020202020020&7547825 5824625 7297 48
0'02979502(625 79239 82)(2752345 287672 5253
1*02""+246579 4737 25 72 6 285 957 25 7
110285 577652 52,*)
1020202020020-+ 
1020202020020)&7725 7492 55 " 7 285 57765)
1020202020020.32462 24+72 6275945 6
1 024"72 7 957652//2 6 2(2//2 6 25 724"7
1!029795824625 482" 87207 925 48252//2 2 4"4 7
1#0246 78541 5462 78652//2 7865267"788 94285
1%023 762 62 997852482 72"997"5$
1'0202020200202 582"997"5
*020202020020-576547825 7972482679823/
102 "54 4547825 52 757"54 782"6 "52462 2 4"4 7
0246 78541 5462 5792 62 997852482 72"997"5$
0202020200203997"5
0202020200206 292041 54625246 78541 572
 02 4"4 72"795 462 7865276 2345 2 62 99785
                                                        TUUVWXXVYZ[\]^__`ab
                                                        ZcdefghijkelfjmcVnjoqr791
  Case 1:19-cv-01678-WMS-JJM Document 174-11 Filed 12/18/23 Page 92 of 92

  12345365782192:;                                             IJKL5MNO5PMPP
  <2=>?8@?A5B@CA?5DE5:@8F5AG59HGG2=A                                      mn
010234556378
09020202020 020 455637
0 020202020 020426562476222436
00267637622112742 442!242"262452"
0#0256672 45742772"4247234556378
0$020202020 020 455637
0%020202020 020&67652726!2452572"45236
0'020202020 020425623455637
0020202020 020 2(27)6272772"2**2"2762"
1+022112"4,627422772722"452!53736
11024727427!6*563452"27656
19020202020&326763762**2(27)627276562656
1 0267637627727!627656272772768
1020202020 020(242472)424 2"
1#020202020 020-42762!5373622. 42
1$027427!6*5634565265626244"
1%027!6*56345627656
1'020202020 020(24,72)424 2"4"277227
1020202020 020-42(,62**2(,62335762**2(,6
9+0233576"27762762!53736 02/44"
91027!6*563456276562742"452)466
99020202020 020042"2)466
9 020202020 020 244"2742"42"424
9020202020 020/42462
9#020202020 020426574427542"452476
                                                        QRRSTUUSVWXYZ[\\]^_
                                                        W`abcdefghbicgj`Skglo651
